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                 Exhibit D
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   IN THE SUPREME COURT OF THE BAHAMAS
   COMMERCIAL DIVISION
                                                                          CAUSE NO. 00014 OF 2020

   IN THE MATTER OF the Companies Act, Ch. 308
   AND
   IN THE MATTER OF an Application under the Securities Industry Act, 2011
   AND
   IN THE MATTER of MINTBROKER INTERNATIONAL LTD. (FORMERLY SWISS AMERICA
   SECURITIES LTD.) T/A SURE TRADER Swiss America Securities, a Registered Securities Firm.

                             ADVERTISEMENT OF WINDING UP PETITION


   TAKE NOTICE that a petition for an order that SWISS AMERICA SECURITIES LTD., whose offices
   were formerly situated at Elizabeth on Bay Plaza, Suite 17, Bay Street, Nassau, The Bahamas (the
   "Company"), be put into liquidation and wound up in accordance with the provisions of the
   Companies Act, was on 5 March 2020, presented to the Supreme Court of The Bahamas.

   The petition was presented by the Securities Commission of The Bahamas located at 2nd Floor
   Poinciana House, North Building, 31A East Bay Street, Nassau, The Bahamas. Joint Provisional
   Liquidators (JPLs), Mr. Igal Wizman and Ms. Eleanor Fisher, both of Ernst and Young, were
   appointed by the court on 17 March 2020. Copies of the petition, supporting affidavits and the
   Order appointing the JPLs, may all be obtained from the petitioner’s website www.scb.gov.bs.

   AND FURTHER TAKE NOTICE that the hearing of the petition will take place on Tuesday 19 May
   2020 at the Supreme Court, Nassau, New Providence, The Bahamas, at 2:00 p.m. and that any
   creditor or shareholder of the Company may be heard on the petition provided that he has given
   three (3) days’ notice to the petitioner at the given address. The notice must state the name and
   address of the person, or, if a firm, the name and address of the firm, and must be signed by the
   person or firm, or his or their attorney (if any) and must be served, or if posted, must be sent by
   post in sufficient time to reach the petitioner not later than 4:00 o’clock on the afternoon of the
   13th day of May, 2020.


                         Securities Commission of The Bahamas (Petitioner)
                                      2nd Floor Poinciana House,
                                             North Building
                                          31A East Bay Street
                                        Nassau, The Bahamas.
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   THE COMMONWEALTH OF THE BAHAMAS                                             2020
   IN THE SUPREME COURT                                                        COM/com/
                                              SUPREME COURT
   Co mme rcia l Divisio n
                                                   MAR 05 roro
                                                 Nassau, Bahamas
                              IN THE MATTER of the Companies Act, 1992


                                                  AND


               IN THE MATTER of an Appl icat ion und er the Securiti es Indu stry Act, 2011

                                                  AND

        IN THE MATTER of MINTBROKER INTERNATIONAL LTD. (FORMERLY SWISS AMERICA

     SECURITIES LTD .) T/A SURE TRADER Swi ss America Securiti es, a Registe red Securities Firm .




                                   AFFIDAVIT OF CHRISTINA R. ROLLE



   I, Chri stin a R. Roll e, Executive Director of the Securities Commission of Th e Bahamas (the

   Commission), New Providence, one of the Islan ds of the Commonwealth of Th e Bahamas, make

   oath and say as follows:


      1. I make this Affidavit on behalf of the Petitioner herei n in my ca pacity as t he Executive
           Di rector of the Com mi ssion.

      2. The facts and matters referred to herein are, unless ot herw ise stated, within my own

           knowledge or are obtained from doc uments in possessio n of th e Commission or its legal

          adviso rs as th e case may be, and are true to th e best of my kn owledge, in formati on and

           belief.


      3. Swiss America Securit ies ltd. (hereafter "SASL" or "the Company") was incorporated in

           t he Commonwealth of Th e Ba hamas, pursuant to the Companies Act , 1992, as a limited

           liability company on the 10th September, 2008. SASL was registered on th e 26th
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        September, 2011, as a Broker Dea ler Class II pursuant to the Securities Industry Act, 1999

        and the Securities Industry Regulations, 2000 (both now repea led).



     4. SASl is a registered firm authorized, und er th e Act, to deal in securities as principal and

        agent, arrange dea ls in secu riti es, manage securities and advise on securities.



     5. SASl was also licensed pursuant to the Finan cial Corporate Services Provid ers Act 2000

        on 30 th November, 2011, to provid e co rporate services to its clients, such as online trading

        and execution services, and custod ial broke rage services.



     6. At all materia l times, Mr. Guy Gentile was th e CEO, shareholder and ult imate beneficial

        owner of th e SASl and solely responsible fo r th e day-to-day operat ions.



     7. Pursuant to Part IV of the SIA, it is within the Commission's regu latory purview, by virtue

        of sections 42-43 and 45 to conduct exa minations of all regul ated persons. In view of that,

        the Comm issio n, for regu latory purposes, conducts Routine-On-S ite Exa minations (" ROS-

        Exam") and For-Cause-Exam ination s ("FC-Exam"). The ROS-Exam involves a general

        review of the regul ated person's AMl/CFT Polici es and procedures inclu sive of risk

        management, AM l training, Reporting of STR's and comp laints and KYC/Due Diligence to

        determine comp lian ce or converse ly, areas of id entified deficiencies during the RDS-

        exam. The FC-Exam is a focused examination of all the books and record s of the regulated

        person and is normally appli ed where there are allegations of and/o r reasons to suspect

        irregu lariti es with respect to t he regulated person's operations and activities.


     8. Sometime in 2015, th e Commission was mad e aware that Mr. Gentile was th e subject of

        a probe, both by th e United States Securiti es and Exchange Commission (" USSEC") and

        the Departm ent of Ju sti ce (" 0 0 1"), res pectively. Mr. Gentile was charged with va rious

        offences part icularly for penny st ock manipulation schemes. Th erefore, as a res ult, the

        Commission condu ct ed a FC- Exa m in relati on to Mr. Gentile's securities dea lings in the

        Bahamas. Now shown t o me is a t ru e copy of the sa id USSEC's Compl aint marked and
        exhibit ed as " eRR!".

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      9. During May 2016 the Commission conducted a FC-Exam which revealed numerou s

         breaches, inclu sive of SAS l 's failure to report to th e Commission the USSEC's and D01's

         actions. Now shown to me is a tru e copy of th e sa id FC-Exam 2016 marked and exhibited

         as "CRR2".



      10. In 2017, the Commission engaged Ernst and Young to add ress concern s relative to market
         manipulation. Th e consequential audit report of 2p! February 20 18 was produced. Now

         shown to me is a true copy of the said audit report marked and exhibited as "CRR3".



      11. In an effort to add ress th e va riou s brea ches from the FC-Exa m 2016, the Commission
         communicated on an ongoing basis with SASl during early 2018 to rem ediate th e said

         num erous brea ches and comp li ance issues. As a con sequence, the Commission executed

         a settlement agreement with SASl on 30 th August, 2018 wherein SASl paid a t otal sum of

         $120,000.00 in fin es as a part of the sett lement, and SASL agreed to add ress the
         compliance issues. Now shown to me is a true copy of th e said Settlement agreement

         marked and ex hibited as "CRR4".



      12. During Dece mber 2018, the Commission conducted an ROS-Exam on SASl's operations.
         As a res ult, furth er breaches we re revealed. Similarly, it was apparent that none of the

         regu latory issues, per the aforesaid settlement, were rectified as SASL had agreed. Now

         shown to me is a true copy of the said on-site-exa mination marked and exhibited as

         "CRRS".



      13. In 2019 during an investigat ion, the Commission discovered that Mr. Gentil e

         in corpora ted a number of unregul ated enti t ies bea ring t he nam e of Swiss America

         Custody ltd. or Mintbroker Internationa l ltd . in va rious juri sdi ctions, including Canada

         and the United Kingdom. These entities were used to accept SASl clients' funds as

         opposed t o clients' fund being remitted to an account in t he name of SASl , the regulated

         enti ty of th e Comm ission.


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     14. Th e Commiss ion rece ived information that the cli ents' funds in these accou nts were

        transferred to SASl 's operationa l account at Deltec Bank and Tru st ltd. This raised the

        issue of lack of segregation of clients' fund s which is contrary to the statutory

        requirements. It also raised the concern of fraudul ent activities with in SASl's operations.



     15. Base d on SASL's aforesaid failure to satisfy the conditio ns of th e settlement, in

        conjunction with the further breaches in 2018 an d th e 2019 investigations, the

        Comm ission decided t o meet with Mr. Gentile on 12 September 2019 to address t he

        aforementioned issues.



     16. As a result of th e September 2019 meeting, th e Co mmission became aware that there

        we re many irregularities regarding SASl's activiti es, such as:


            a. SASL characterizes its activity as "trading in principl e", howeve r, in th e case of

                 equities t rad ing, clients wou ld expect that "as principle", SASl was sellin g equities

                 to clients from its own propri etary in ventory. Howeve r, such was not th e case;



            b. The purchase of securities by SASL's clients do not resu lt in those cl ients having

                 th e securiti es they believe th ey have purch ased;


            c.   SASL's clien ts not having direct market access, but rather SASl wo uld "act as

                 principal" for the clients and wou ld pay the differen ce in securit ies t rades;


            d. Mr. Gentile pu rported th at SASl does not hold any inventory of securities, but

                 rather th at it is in a "short" position relative to its clients; and


            e. SASL estab lished seve ral unregu lated entities w ith similar names to SASL in foreign

                 juri sdictions and had estab lished bank accounts in foreign jurisd iction s and these

                 entities were receivin g funds on behalf of SASL on terms unknown to th e

                 Commission.




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      17. Pri or to t he 12 September 2019 meeting, the Co mmission was unaware that SASl's cl ients

          operated within an enviro nm ent so lely depend ent upon SASl as opposed to client orders

          being placed directly in the market by SASl. The operationa l structure means that no

          actual trading is done in th e market with res pect t o t he clients' ord ers. Conseq uently,

          clients do not own shares, but are of the belief th at t hey own the shares.



      18. This state of affairs is unacceptable to the Commission, and is con t rary to industry

          practice.



      19. Th e Commission th en moved to investigat e Mr. Gentile's description of SASl' activit ies

          and mad e efforts to halt SASl's operations to preve nt ex posu re to clients du e to improper

          trade practi ces.



      20. In view of these findings, pursuan t to the Commissions' stat utory powers per sect ion

          133{3) of the SIA, the Comm ission issued Orders via its letter dated 18 September 2019,

          directing SASL to, inter alia, suspe nd its bu sin ess for approximate ly 5 days. Now shown

         to me is a tru e co py of th e said Letter m arked and exhibited as " CRR6".



      21. By its lette r dated 19 Septem ber 2019, SASL adm itted to improper trad ing practices as

          outlin ed above and once again indicated th at SASL was w illing to make cha nges t o its

          operationa l activity to comp ly wit h operationa l protocols for registe red firms. Now

         show n t o me is a t rue copy of t he said Letter marked and ex hibit ed as " eRR7" .



      22. In SASL's letter, SASL implied that it does not segregate its clients' asset s as requ ired, per

         Regulation 88 of the Secu riti es Indu stry Regu lations, 2012 ("SIR"), as SASl promised to

          "move all cli ent related assets to a segrega ted acco unt at Deltec Bank in Nassa u owned

         by SAS l ". As already indicated above, the account at Deltec is an operationa l account and

          SAS l moving clients' funds there wou ld on ly create t he issue of comi ngling, as aforesaid

          whi ch is co ntrary to th e statutory requirement to segregate.




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     23. SASl's operation as explained by Mr. Gentile is potentially fraudu lent and is misleading to

        its clients who were led to believe that they are involved in trading securities when in fact

        they are trading against a non-existing position, as described by Mr. Gentile in the

        meeting with the Commission.


     24. The Commission's concerns around the nature of SASl's manner of dealings may be

        understood by constructing a fictiona l illustration as follows -


                Market price of share A may be trading at $50 per share.

                Via a platform used by SASL, the client performs a purchase of 100 of share A, total
                cost of which is $5,000.

                SASL simulates that the client has purchased the shares, while (it seems)
                unbeknownst to the client, it hasn't.

                Also it seems unbeknownst to the client, the client's funding for its trades are
                directed (per instructions issued to the client by SASL) to a bank account of a
                different entity that has a similar name to SASL, but which is unregulated and
                domiciled in a foreign jurisdiction. It is not clear or yet verified by the Commission
                whether or the extent to which the different entity is owned or controlled by SASL.

                If the client intends to hold shares it thought it purchased for a period, or wants to
                liquidate it and cash out, such that the client's actual ownership of the shares by
                the client must be actualized, then SASL appears to simulate the portfolio volue
                and sale of client shares against prevoiling market market prices. In the case
                where clients require the liquidation of their presumed shares, SASL can only hope
                that the current prices are less than the client had (supposedly) paid for them at
                the time SASL hod simulated that the client hod purchased them.

                If at that later time at which the simulation of the sale of shares are being carried
                out, the shares are then trading lower, say, at $40 per share (given that the client
                had, supposedly, purchased them at $50 per share) SASL would profit from the
                difference, which in the example would be $1,000 for 100 shores.

                However, if the price of the shares were then trading higher in the market, soy, up
                from the $50 per share it was at the time client thought it had purchased to $60


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                 per share, then SASL has to spend $1,000 more to actually effect the simulation of
                 the safe of shares to the client's account.

                 If by chance SASL were faced with having to actualize share sales in large numbers
                 for many clien ts in which the share prices had risen - apart from the apparent
                 deception of the clients (if they were unaware of these goings on) - there is risk of
                 an inability of SASL to deliver on the sales thereby possibly resulting in insolvency.
                 The scheme would unravel.

                 Recovery agains t SASL would be complicated by the fact that funds paid by the
                 client were never received in to SAS L but by the different and unregulated en tities
                 of foreign domicile.

      25. Th erefore, in exercise of its regu lato ry authority, the Comm iss ion issued its aforesaid

         order suspendi ng SASl's operations for 5 days, so as to address t he issues outlined above,

         in ter ali a, lack of proper trading practi ces, use of unregulated entiti es and non -

         segregation of client assets. This short term suspension was t o all ow the Commission

         sufficient t im e to investigate SASl 's activit ies wit hout being overly disruptive to its

         operations. However, based on Gent ile's description of SAS l 's activity, it woul d have been

         irresponsi bl e of t he Commi ss ion to allow potentially fraudu lent act iviti es to continu e to

         take place even while an investigation was ongoing.



      26. To assist the Comm ission's efforts afo resa id, the Comm issio n appoin ted Jam es Gomez of

         Ba ker Ti lly Gomez to condu ct an audit of SASl 's financia l transact ions, in clusive of

         banking, trading and cli ent records .


      27. Acco rdingly, on 19th , 20t h and 23 rd September 2019, t he Comm issio n sought to ente r

         SAS l 's premises to conduct the said in vestigat ion and obtain relevant information for

         review, but were un ab le to perform any review because, wh il e initially ap peari ng to

         cooperate, SASl did not provide what the Commi ss ion requested.



      28. To date th e Commission is not in receipt of the requested information.




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     29. Instead of cooperating with the Commission, SASl made an ex-parte application for

        Judicial Review on th e 23 September 2019, one day before t he Commission's suspension

        expi red and without eve r complying with the Commission's requ est . SASl also rece ived

        an Order vacating the Commission's regulatory orders and directives.



     30. Th e orde rs granted by t he Supreme Court has fu lly disa bled th e Commission from furthe r

        invest igations of th ese matters in relation to SASl's activit ies. Now shown to me is a tru e

        copy of th e said Ord er fil ed 23September 2019 marked and exhibited as lIeRR8".



     31. On 3 December 201 9, SASl informed the Commission of its intent to vo luntarily wind up,

        although section 73 of the SIA mandates that a registrant seek th e Commission's approva l

        to volu ntarily wi nd -u p its operations. However, SASl , without seeking th e Commission's

        approval, purported to communicate to th e Commission its unilateral decision to

        vo luntarily wind -up SASl. Now shown to me is a t rue copy of the sai d letter marked and

        ex hibited as "CRR9".


     32. The Commission on various occasions, throu gh its correspondences of 19th November

        2019, 10 th Decem ber 2019, and 11 tn December, 2019, inform ed and directed SASl that

        any approva l of SASl's voluntary surrender of its registration would be subject to

        conditions.


     33. Therefore, th e Commission, in it s 10 t h December 2019 letter, informed and directed SASl

        t hat any approva l of SASl 's vo luntary surrender of registration wou ld be su bj ect to SASl

        providing:


            a. Provide a co mplete t ransaction history of all activity on the IB brokerage accounts

                for the period beginning 1st Jun e 2019 up to the closure of th e IB accounts;


            b. Provid e a full reconciliation of all client accounts held with SASl , wheth er or not

                th ey are/were held with IB, for the period beginnin g 01 Jun e 2019 up to the

                closure of th e IB accounts;




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             c. Submit to th e Commission its aud ited financial statem ents which are currently

                  outstanding for the years ending 31 December 2017 and 31 December 2018;


             d. Provide a deta iled pl an (a s approved by th e directors) for winding up SASl's

                  operations, includin g, but not limited to, details of any cli ents who could not be

                  contacted or where there were any issues dosing any client's accou nt;


             e. Submit all of t he above items li sted (a) th rough (d) to the Co mmission by Tu esday

                  31 December 2019; and


             f.   Upon item s (a) through (d ) above havi ng bee n provid ed, su bmit the rema ining

                  outstanding registration certificates for-

                  •   Guy Gentil e;
                  •   Edward Cooper; and
                  •   All other regist ered perso nn el for whom SASl received reg istration
                      ce rtificates.

         Now shown to m e are tru e copies of th e said letters marked and exhibit ed as <leeR 10" ,

         respectively.



      34. To date, despite the numerous request s from t he Commission, SASl, has failed again to

         comply w ith and/or provide all of the requested informat ion .


      35. By its letter dated 4th Febru ary 202 0, the Commission form ally advised SASl that by

         reason of its failure to provid e all requ ired information and SASl's current non·

         operat ional status, the Com mission will immediately suspend the registration of SASl and

         seek a court supervised winding up t o ensure the protectio n of SAS l 's clients, investors

         and credito rs in the w indin g up process. Now shown to me are tru e copi es of the sai d

         letters marked and exhibit ed as "eeR 11" .


      36. It is paramount that the Commission protect t he welfare of investors and/o r clients as

         well as to maintain t he in tegrity of the Bahamas' secu rities and investme nt markets.

         Therefore, the Co mmission see ks orders to prevent any further or any potential harm to

         SASl's cl ients.


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     37. In the circumstances I su bmit and confirm that the Commission has determined that it is

         in the public interest and the interest of SASl's clients to have SASl subject to a court-

         supe rvised winding up, and I further submit that a provision al liquidator should

         immediately be appointed to protect the company pending the hearing of the Petition .


     38. That the contents of this Affidavit are true and correct to the best of my knowledge

         information and belief.




  SWORN TO in the City of Nassau       }

  This 5th day of March, A.D., 2020    }




                                                            BEFORE ME,



                                                       ~c




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   COMMONWEALTH OF THE BAHAMAS                                                    2020

   IN THE SUPREME COURT                                                           COM/com/

   Comm ercial Divi sion




                               IN THE MAnER of the Companies Act, 1992


                                                      AND

              IN THE MATTER of an Appl i cation und er th e Securiti es Indu stry Act, 2011

                                                      AND

        IN THE MAnER of MINTBROKER INTERNATIONAL lTD. (FORMERLY SWISS AMERICA

    SECURITIES LTD.) T/A SURE TRADER Swiss Am erica Securit ies, a Regist er ed Securiti es Firm.




                                                 CERTIFICATE



          These are t he Exhibits marked " eRR 1" th rough " eRR 11" referred to in the Affidavit of

  Christ in a R. Roll e fi led herei n and dated th e 5 th day of M arch, 2020.




                                                             Before M e,




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                            SECURITIES COMMISSI O N OF THE BAHAMAS



                                         INSPECTIONS DEPARTMENT


                                        INTEROFFICE MEMORANDUM



     To:     Executive Director – Ms. Christina Rolle
     CC:     Enforcement Committee
     From:   Manager, Inspections Department - Ms. Lesley Pearson
     Date:   25 May 2016
     Re:     Inspection for Cause – Swiss America Securities Limited


     1.0 INTRODUCTION

     The Inspections Department was instructed by the Executive Director and the Enforcement
     Department in a meeting on 2 May 2016 to conduct an Inspection For Cause of Swiss America
     Securities Limited (“SASL”) or (“the company”), to exam all the books and records of SASL, its clients
     and related parties.

     The field work of the Inspection for Cause of SASL began on 4 May 2016 and ended on 23 May 2016.
     The examination was conducted at the Registrant’s office located at Elizabeth on Bay Plaza, Suite 17,
     Bay Street, Nassau, Bahamas.

     2.0 BACKGROUND OF THE INSPECTION FOR CAUSE

     The Securities Commission of The Bahamas (“Commission”) received allegations of irregularities in the
     operations of SASL which was cause for concern. SASL CEO and Director, Guy Gentile was charged by
     the Securities and Exchange Commission for penny stock manipulation schemes. However, SASL did
     not advise the Commission of the charges against Guy Gentile; therefore, is in breach of Regulation
     53(2)(h)2 of the Securities Industry Regulations, 2012. In addition, SASL failed to meet its statutory
     reporting obligations and submission of outstanding documents and fees.

     See Appendix A for SEC Court Indictment and a complaint from a confidential informant on SASL
     failure on performing proper due diligence on clients and lack of basic corporate governance.

     3.0 BACKGROUND OF SASL:

     Swiss America Securities Ltd. (“SASL” or “the Company”) was incorporated in the Commonwealth of
     The Bahamas under the Companies Act 1992, as a limited liability company on 10 September, 2008.
     SASL was licensed with the Securities Commission of The Bahamas (“the Commission”), as a Broker


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     Dealer Class II, on 26 September, 2011, pursuant to The Securities Industry Act, 1999 (now repealed)
     and the Securities Industry Regulations, 2000 (“the Regulations”). Pursuant to the Securities Industry
     Act, 2011 (“the Act”), SASL is currently licensed as a registered firm, authorized to Deal in Securities
     as Principal and Agent, Arrange Deals in Securities, Manage Securities and Advise on Securities. The
     Company was also licensed under the Financial and Corporate Service Providers Act, 2000 (“FCSPA”)
     on 30 November, 2011 to provide corporate services to its clients.

     SASL’s business activities include the following:

          Online Trading and execution services;
          Custodial services;
          Brokerage account services;

     4.0 OBJECTIVE OF THE INSPECTION FOR CAUSE

     The objectives of the inspection for cause were to review SASL’s operations in regards to the following:

          Operational Systems and Controls;
          Anti-Money Laundering (AML) / Counter Terrorist Financing:
               o Compliance Officer (CO) / Money Laundering Reporting Officer (MLRO) Duties;
               o Customer Due Diligence / Know Your Customer;
               o Suspicious Transaction Reporting;
               o Large Cash Transactions;
               o Complaints; and
               o AML Training and Monitoring System
          Reporting Obligation to the Commission
          Segregation of Clients’ Assets from SASL’s financial affairs
          Other Matters
               o Risk Monitoring of Client Accounts
               o Books and Records

     This report will detail factual results found onsite, offsite, and inquiries with SASL key personnel.

     5.0 SCOPE OF THE EXAMINATION

     The scope of the examination was 1 January 2012 – 30 April 2016. It was communicated by Antonio
     Collie – President / Chief Financial Officer/Director, that SASL has a total of 17,076 accounts; however,
     no documents provided ascertained that number. Documents provided to the Commission confirmed
     SASL client base as 13,323 client accounts. The client population sampled varied across testing the
     areas.

     6.0 EXAMINATION RESULTS:

     OPERATIONAL SYSTEMS AND CONTROLS

             ASSETS UNDER CUSTODY

             6.1 During the inspection, SCB Examiners obtained and analyzed the Assets under Custody
             (AUC) of SASL for the period 1 January 2012 – 31 March 2016. As the AUC are reported on a


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            quarterly basis, examiners obtained only the 1st Q in 2016. It was revealed that the company
            provides services on a non-discretionary basis for both corporate and individual clients and
            has AUC totaling $9,763,856 as at 31 March 2016 as noted below:

                                             31-Mar-16
                Account Type                        Number of                 Value of Accounts
                                                   Accounts (#)                      ($)
                Non-Discretionary (Not Managed)
                Individual
                                                 17,076                          9,763,856.00
                Corporate
                Total Non-Discretionary AUC
                                                 17,076                          9,763,856.00

            6.1a Examiners further noted that SASL was unable to segregate the provided AUC listing
            between individual and corporate accounts. Upon inquiry, Mr. Antonio Collie
            (President/CFO/Director) informed examiners that SASL was in the process of uploading all
            client information into its electronic software International Back Office System Software
            (IBOSS) and as a result, client information was not readily available. Further, senior
            management of SASL gave examiners contradictory information on the number of client
            accounts SASL currently serviced. Upon inquiry, Ms. Janay Symonette (Chief Marketing
            Officer) informed examiners that this inconsistency was due to the system not taking into
            account inactive client accounts.

                                                CLIENT LISTING
                                                AUC         IBOSS           By Client Type

                      Number of Client         17,076         13,265                 13,159

            See Appendix B for various Client Listings provided.

            6.1b SASL experienced a steady incline in client accounts during the period under review
            resulting in fluctuations varying from 12% to 32% during January 2012 - June 2015. Examiners
            noted that while SASL continued to experience growth in client accounts after June 2015; the
            fluctuation was below the 10% threshold. As the number of SASL's client accounts increased,
            the value ($) of client accounts also increased. However, during the following periods:

                   September 2012,
                   September - December 2013,
                   September 2014 and
                   June - December 2015

            SASL experienced a decline in the value ($) of accounts despite the rising number of clients.
            The decline I value was attributed to unfunded and/or inactive trading/brokerage accounts as
            well as existing clients withdrawing funds. It is SASL policy to give clients thirty days to provide
            funding before the account status is changed to inactive.

            See Appendix B for SASL’s Asset Under Custody Analysis


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            INVESTMENT HOLDINGS OWNED BY SASL

            6.2 SASL 31 December 2014 audited financial statements noted investments totaling
            $3,033,447 which comprised of equities, exchange traded funds, fixed income and exchange
            traded notes. Examiners obtained a detailed listing of the type of investments held by SASL.

            Examiners noted that the AFS reflected an Exchange Traded Funds balance of $505,907;
            however, the custodian statement provided reflected a balance of $505,996.50 (a difference
            of $89.50). Upon inquiry, Mr. Collie informed examiners that SASL was unaware of the
            inaccuracy on the AFS and are not alarmed as the difference is trivial.

            See Appendix C for SASL’s Investment Listing and Custodian Statement

            MEMORANDUM AND/OR ARTICLES OF ASSOCIATION / RIGHTS AND OBLIGATIONS

            6.3 Mr. Antonio Collie (President/CFO/Director) revealed there were no amendments to the
            Memorandums of Association of Swiss America Securities Ltd (SASL) neither to the nature of
            issued capital of SASL. However, there were changes made to the Articles of Association and
            to the rights and obligations of SASL security holders.

            6.3a The following was noted during a review of the below documents regarding the above
            stated:

                a. Articles and Memorandum of Association - Examiners reviewed the Articles and
                   Memorandum of Association on file at the Commission to the Articles and
                   Memorandum of Association on file at SASL and noted that there were no changes
                   made to the Memorandum of Association of SASL; however, Article 4 of the Articles
                   of Association was amended and Article 4A inserted.

                   Article 4 - “the shares shall be under the control of the Directors, who may allot or
                   otherwise dispose of the same to such persons on such terms and conditions and at
                   such times as the holder of the majority of the shares thinks fit.”

                   Article 4A - “No shares of a class of shares may be issued unless the shares have first
                   been offered to the shareholders of the company holding shares of that class; and
                   those shareholders have a pre-emptive right to acquire the offered shares in
                   proportion to their holdings of the shares of that class at such price and on such terms
                   as those shares are to be offered to others.”


                b. Board of Directors Meeting Minutes - Examiners reviewed the Board of Directors
                   Meeting Minutes and Directors Resolutions for 2008 - 2015 and noted that on the 18
                   December 2015; the Directors of SASL resolved to amend the Articles of Association.

                c. Risk Assessment Brief - Market Surveillance Department's Risk Assessment Brief
                   indicated that SASL has made changes to the Articles of Association.

                See appendix D for Amended Articles of Association


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                See appendix D for Directors Resolution
                See appendix D for Board of Directors Meeting Minutes.

            6.3b Via a letter dated 27 January 2016 SASL advised the Commission of the amendments to
            the Articles of Association as at 18 December 2015. The Commission requested further
            documentation via letter on 10 March 2016 which was provided on 17 March 2016. On 18
            April 2016, the Commission issued a no objection letter to SASL in relation to the amended
            Articles of Association dated 18 December 2015; however, SASL did not receive prior written
            consent as per the legislative requirement.

            See appendix D for the Commission's No Objection Letter.

            Legislation

            Regulation 55(a) – Securities Industry Regulations, 2012 – Transaction Affecting Financial
            Resources

            A registered firm shall obtain the prior written consent of the Commission before:

                     (a) seeking to reduce or change the nature of its issued capital or the rights and
                         obligations of its security holders

            Breach

            SASL did not obtain prior written consent of the Commission before amending its Articles of
            Association on 18 December 2015.

            Recommendation

            SASL must obtain prior written consent of the Commission before changing the rights of its
            security holders.

            PROFESSIONAL INDEMNITY INSURANCE

            6.4 To ensure that the registrant has submitted its current insurance policy to the Commission
            with the renewal of its registration. [Regulations 43 (3) of the SIR, 2012]

            6.4a A review of Swiss America Securities Ltd.’s (SASL) Indemnity Insurance Policy revealed
            that SASL's insurance appears to be appropriate to the size, complexity and nature of the firm
            to cover at least professional indemnity and fidelity bonding.

            Examiners noted that the policy note comprised of the following:

                    Policy Holder: Swiss America Securities Ltd
                    Policy Type: Financial Institution Professional Indemnity
                    Policy Period: 26 November 2015 - 26 November 2016
                    Limit of Liability: $1,000,000




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            6.4b A review of the 2015 Annual Information Update Form (AIUF) submitted by SASL on 13
            January 2016 did not include the details of SASL current insurance policy to the Commission
            with the renewal of its registration.

            Examiners noted that SASL subsequently submitted the details of the firm's Insurance Policy
            to the Commission on 05 April 2016 after the legislative deadline of the 31 of January of each
            year.

            See appendix E for Annual information update Form.

            Legislation:

            Securities Industry Regulation, 2012 – Regulation 43 (3) - Insurance

            43 (3) A registered firm shall deliver to the Commission, with the application for renewal of its
            registration, current details of the insurance policies held by the firm.

            Breach (es):

            SASL did not deliver to the Commission the current details of the Insurance Policy held by SASL
            with the application for renewal of its registration on or before the 31 of January of each year
            as per the legislative requirement.


            Breach

            Recommendation (s):

            SASL must deliver to the Commission the current details of the Insurance Policy held by SASL
            with the application for renewal of its registration on or before the 31 of January of each year
            as per the legislative requirement.

     ANTI-MONEY LAUNDERING (AML) / COUNTER TERRORIST FINANCING

            COMPLIANCE OFFICER / MONEY LAUNDERING REPORTING OFFICER

            6.5 To ensure the Money Laundering Reporting Officer (MLRO) and/or Compliance Officer (CO)
            is sufficiently senior within the organization with unrestricted access to directors, books and
            records.

            6.5a SASL has a registered Compliance Manager/MLRO, Mr. Philip Dorsett along with an
            Acting Chief Compliance Officer Mr. Edward Cooper. Inquiry with both individuals and review
            of the organizational chart revealed that Mr. Dorsett currently reports to Mr. Cooper – the
            acting Chief Compliance Officer. However, both Mr. Cooper and Mr. Dorsett report to Mr.
            Antonio Collie (President/CFO/Director) and Mr. Guy Gentile (CEO/Director). Further
            discussions held with Mr. Cooper revealed that his role in the organization is only temporary
            as his position on the organizational chart indicates (Acting Chief Compliance Manager). Mr.
            Cooper, at this point in time is therefore deemed more senior in his role than Mr. Dorsett and



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            we do note that Mr. Dorsett resigned as a Director and as such, some exposure as a senior
            management official may be limited.

            The appearance is present that Mr. Dorsett is sufficiently senior within the organization,
            however after a review of seventy-seven (77) client account opening files and no evidence of
            review or approval from Mr. Dorsett, we deem it reasonable to state that he is not sufficiently
            senior in his role as a registered CO/MLRO within the organization and may have limited
            access to all books and records, customer due diligence files and related correspondence files.
            Furthermore, Mr. Dorsett himself vaguely expressed to examiners his concerns of not having
            full unrestricted access to these elements.

            See appendix F for Philip Dorsett Warning Letter.

            REVIEW FREQUENCY AND RISK RATING FRAMEWORK

            6.6 To ensure the Registrant has an Anti-Money Laundering (AML) risk based approach to
            monitoring facilities.

            6.6a SASL compliance manual notes that all client accounts are reviewed periodically as
            follows:

                 Low Risk - reviewed as the need arises
                 Medium Risk - reviewed every 3 to five years
                 High Risk - reviewed annually
                 PEPs - any and all PEP accounts should be classified High Risk and shall be subject to
                  continuous monitoring.

            6.6b SASL has utilized OFAC (Office of Foreign Assets Control) as a global system check on
            performing further due diligence on clients, however, Mr. Edward Cooper noted that he does
            not have 100% confidence in the system and prefers the use of World Check. Mr. Edward
            Cooper then informed examiners that prior to his commencement with the organization 6 July
            2015 as a Compliance Consultant, which was subsequently changed to Acting Chief
            Compliance Officer effective 1 November 2015 to current, there were no risk reviews
            performed on clients. A sample of seventy-seven (77) client files revealed fifty-nine (59) client
            accounts not containing evidence of a review conducted by either Mr. Philip Dorsett,
            Compliance Officer or Mr. Edward Cooper (Acting Chief Compliance Officer). The risk rating
            of client accounts came into effect January 2016.

            Further, we discovered that certain risk areas were not addressed in assessing the risk profile
            of each customer relationship until amended account opening forms and policies and
            procedures were introduced in late 2015 by Mr. Edward Cooper, Acting Chief Compliance
            Officer.

            SASL was not complaint with ensuring the source of business funding, the type of assets and
            the level of transactions were identified on the client account opening documents. This was
            evident on sixty-three (63) client files of the seventy-seven (77) client files sampled. In
            addition, evidence of the Complexity of Ownership & Legal Structure were also not identified
            for one (1) corporate client sampled.



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            See appendix G for account opening form 1 & 2 for Individuals & Companies (Old Form).
            See appendix G for revised account opening form (January 2016).
            See appendix G for risk rating reviews (SCB) & spreadsheet (SASL).

            Legislation

            Anti-Money Laundering and Countering the Financing of Terrorism Rules, 2015 – Rule 5 (1)
            (2)(a)(c – e) - Requirements for risk rating framework

            A regulated person's risk rating framework shall -

            1. A regulated person shall assess the risk profile of each new customer relationship or
            product prior to establishing a business relationship with the customer or issuing the product.

            2. (a) Categorize customer relationships and products so that the level of risk associated with
            each customer relationship or product is identifiable;

                     (c) Establish the level of management able to approve the regulated person entering
                     into customer relationships at the various levels of risk rating categories

                     (d) Establish Know Your Customer and due diligence information requirements
                     appropriate for the risk profile of the customer relationship or product

                     (e) Require the periodic review of the customer relationship or product to -
                             i. Ensure that the categorizations are current and appropriate
                             ii. Enable the regulated person to determine whether any adjustment should
                             be made to the risk rating

            Breach

            SASL did not assess the risk profile of each new customer (low, medium, high) prior to
            establishing a business relationship with the customer. SASL began risk rating its client after
            Mr. Cooper's commencement with the organization in late 2015.

            Recommendation

            SASL must ensure file reviews are conducted as in accordance with the legislation.

            Legislation

            Anti-Money Laundering and Countering the Financing of Terrorism Rules, 2015 – Rule 5 (2) -
            Requirement for risk rating framework

            A regulated person's risk rating framework shall -

          (b) Categorize customer relationships and products to take account of risk factors related to the
          particular customer relationship or product including -
                    iii. Complexity of ownership
                    iv. Complexity of legal structure


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                     v. Source of business
                     vi. Type of assets
                     viii. Level of cash transactions

            Breach

            SASL did not identify the below when on-boarding new clients:

                     (i)     Source of Business/Funding; Type of Assets and Level of Cash Transactions
                             were not clearly identified and indicated for those clients selected who were
                             initially on-boarded.

                     (ii)    Complexity of Ownership & Legal Structure not clearly identified and
                     indicated for corporate clients initially on-boarded.

            Recommendation

            SASL must ensure that the following information is obtained and clearly identified when on-
            boarding new clients:

                 Source of Business/Funding; Type of Assets; Level of Cash Transactions
                 Complexity of Ownership & Complexity of Legal Structure (Corporate Clients)

            Legislation

            Financial Transaction Reporting Regulation – 9(2) - Continued Verification of Accounts

            Financial Institutions shall monitor facility holders for consistency with the facility holders
            stated account purposes and businesses and the identified potential account activity during
            the first year of operation of the facility.

            Breach

            Although an AML monitoring system was established in late 2015 (after Mr. Edward Cooper's
            commencement with the organization), there was no evidence of this being performed prior
            and as such the registrant failed to comply with legislation.

            Recommendation

            The Registrant must ensure adherence with the legislation as it requires all accounts to be
            monitored to prevent money laundering and to ensure consistency with the facility holders
            stated account purposes.

            JURISDICTION

            6.7 To determine if the Registrant conducts business in other Jurisdictions and if the registrant
            has considered the reputation of that institution and jurisdiction.




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            6.7a Swiss America Securities conducts business with institutions in other jurisdictions (both
            businesses and clients of the registrant). We confirmed with management and per review of
            the Compliance Policies and Procedures Manual that an integral part of the risk rating criteria
            established in 2015 is to consider the reputation of both institution and jurisdiction.

            6.7b However, per review of the Domicile spreadsheet presented to examiners by Antonio
            Collie (President/CFO/Director), Afghanistan was listed as a country of domicile for clients
            they conduct business with, which indicates they may have not fully considered the reputation
            of the jurisdictions that SASL conducts business with. This can also be attributed to line staff
            approving client acceptance before Mr. Coopers position with the SASL. When inquired with
            Mr. Philip Dorsett, Compliance Officer if the reputation of this jurisdiction was considered, he
            confirmed via email that the account (PFS15086) related to this jurisdiction was set up only as
            a "test Demo".

            See appendix H for jurisdiction listing provided by President/CFO/Director Mr. Collie
            (Domicile Spreadsheet).
            See appendix H for email correspondence from Philip Dorsett (Domicile Email).

            6.7c A review of the incomplete client listing provided by SASL noted that the account balance
            was listed at $-0- with no proper address and as such appears to be a "test demo". Other than
            the information received, there is no other evidence to validate the claim of the test demo
            account. SASL should consider using other client coding to differentiate between "test demo"
            and actual client accounts.

            CUSTOMER DUE DILIGENCE / KNOW YOUR CUSTOMER

            6.8 To ensure that the Registrant maintains client account opening forms and documentation
            for each client and the registrant has taken reasonable steps in identifying the clients and
            keeping the information required up to date.

            6.8a In 2014, SASL launched an online trading platform entitled Sure Trader (a division of Swiss
            America) that allows clients to log onto the online platform and execute trades on their own
            behalf in real time.

            Potential clients would apply online via Sure Trader’s website (www.suretrader.com) and
            complete a three part process to apply for an account. The process includes selecting an
            account type (Individual, Joint, Trust or Corporate), completing the online application form,
            and reviewing and confirming their understanding to SASL’s agreements (General Client
            Agreement, Letter of Authorization, Securities Markets Risk Disclosure, US/Non-US Person
            Status Declaration, Unsolicited Acknowledgement Agreement and Identity Declaration Form).

            Upon completion of the online account application process, SASL’s Compliance Department
            awaits a due diligence package to begin the vetting process. The required due diligence
            documents include:




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              #       DOCUMENTS REQUIRED

              1       2 valid colour photo IDs: passport and driver's license or government issued
                      identification card
              2       Bank account information
              3       Employer's address and telephone number
              4       Financial information (annual income, liquid and total net worth)
              5       Financial and professional references
              6       Proof of residency (utility bill, bank or brokerage statement, etc. with your address
                      on it - no older than 6 months)
              7       Due to recent legislation (FATCA), Swiss America Securities, Ltd. now requires every
                      client to submit either a W-8BEN for NON-U.S. Individuals, or W-8BEN-E for NON-
                      U.S. Entities or W-9 for U.S. Individuals & Entities.

            Upon receipt of the prospect documents, the Accounts Department personnel will submit the
            file to Compliance for complete file review, and the verification of the name(s) against the
            “OFAC” (Office of Foreign Assets Control) as a global system check on performing further due
            diligence on clients. The client’s KYC file may be supplemented with additional information
            such as Internet search results, newspaper and magazine articles as well as advertisements
            and business cards.

            6.8b A review of seventy-seven (77) client files sampled, revealed that all customer accounts
            forms were signed by customers. In addition, the following was noted:

                   Eleven (11) files that did not contain the relevant proof of identity (i.e. passport &
                    driver's license);
                   Fifteen (15) files identified where the client's proof of address was not obtained. The
                    address was, however, indicated on the account opening form

            See appendix I for KYC testing spreadsheet.

            6.8c During a review of the files, examiners noted the below eleven (11) client accounts that
            was not listed on SASL client account listing provided to examiners.

                                                   Account      Type of
                  #               Name             Number       Account                  Comments
                                                                               Not included in the overall
                  1                               PFS06145      Individual    client listing provided by the
                  2                               PFS15667      Individual               Registrant

                                                                               The Client file did not have
                  3       Michael Tedeschi           NIL        Individual
                                                                              an account number assigned
                  4        Anthony Akiniz            NIL        Individual      and not included in the
                  5       Dustin Enochs              NIL        Individual    overall client listing provided
                  6       David Narita               NIL        Individual         by the Registrant.
                  7       Jasmine Travers            Nil        Individual


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                 8        Tatenda Tabulo            NIL       Individual
                          A Latin Pro Trading,
                 9        LLC                       NIL      Corporation
                10        Morgan Buban              NIL       Individual
                11        Mehmet Onur               NIL       Individual

            In light of the information noted above at 6.8c, examiners requested SASL management to
            provide client information such as trading and cash summary reports to ascertain that these
            clients do exist.

            6.8d Client files opened prior to Edward Cooper's (Acting Chief Compliance Officer)
            commencement to SASL revealed that there was no evidence of review or approval by Mr.
            Philip Dorsett, Compliance Officer & MLRO with regards to client acceptance. A review of the
            KYC checklist only indicated a signature by SASL line staff. Out of the 77 client accounts tested,
            only 18 showed proper review and approval by the Client Acceptance Committee, which
            comprises of Mr. Cooper and/or Mr. Dorsett. Evidence of the review and approval process
            has also since been transitioned to IBOSS.

            See appendix J for client acceptance committee form and I for KYC Checklist.

            6.8e Examiners obtained internal email correspondence dated 11 November 2015 with
            reference to a named individual Luis D. Amaro and his desperate desire to trade. Information
            was also obtained that gave light to Amaro being hospitalized 17 – 25 May 2011 for major
            depressive disorder, severe post-traumatic stress disorder. In light of the information noted
            above, examiners reviewed SASL client listing from inception to current and discovered that
            Luis D. Amaro was a client of SASL with the client number PFS02637. A review of SASL records
            confirmed that Amaro became a client of Swiss in mid-2013 (June) with a deposit amount of
            $2,895. However, SASL still deemed it necessary to accept Amaro as client after due diligence
            revealed his medical history with severe depression and his desperate desire to succeed as a
            stock trader. In addition, it appears suspicious as examiners reviewed email correspondence
            with SASL advising Amaro they are unable to accept him as a client, despite trading records
            and cash history proving otherwise.

            See appendix K for email correspondence with Luis De Amaro.
            See appendix K for Luis De Amaro medical records.
            See appendix K for Luis De Amaro cash and trading history.

            Legislation

            Securities Industries Regulation, 2012 [68 (1)(2)(3)] - Client account opening form and
            documentation

            (1) A registered firm must maintain account opening documentation for each client.

            (2) No registered firm shall execute any transaction for a client until it has in its possession a
            'client account form' executed by the client and approved by the designated officer of the firm.




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            (3) The client account form shall contain information concerning the client's identity, financial
            status, employment, education, investment objectives, ability to incur risk, status as an insider
            to any public issuers, and any other information that may be considered reasonable by the firm
            in making an investment recommendation to the client

            Breach

            SASL did not maintain account opening documents for all client files.

            All new accounts should be approved by management, either by Philip Dorsett (Compliance
            Officer) or Mr. Edward Cooper (Acting Chief Compliance Officer) in order to properly execute
            transactions on behalf of clients. This was not evidenced on client files prior to the
            commencement of Mr. Edward Cooper in 2015.

            SASL did not obtained proof of identity for all clients, which as prescribed by legislation.

            Recommendation

            SASL must ensure that all new accounts are approved by either Philip Dorset (Compliance
            Officer) and or Edward Cooper (Acting Chief Compliance Officer) in order to properly execute
            transactions on behalf of their clients.

            SASL must ensure that proof of identity has been obtained for all clients.

            The registrant must ensure that all account opening documents are maintained on client files.

            COMPLAINTS

            6.9 To determine if client complaints or unusual matters are maintained in a central register
            and responded to in a timely manner as prescribed legislation.

            6.9a It was evident through inquiry and review of SASL operations, that SASL does not
            maintain a centralized customer complaint log. Examiners were provided with a complaint
            log that has been recently started and currently maintained by Alexis Delancy, Supervisor
            Customer Support Center (CSC). As complaints can be received and resolved by any
            individual/department of SASL, examiners were presented with a listing only from two
            individuals and as such the complaint log presented may not be comprehensive of SASL
            complaints. To ascertain the above statement, it was noted that Kelly Kramp (PFS02675) was
            not listed on the complaint log. However, examiners discovered email correspondence
            between SASL management and the client, in addition to the complaint received by the
            Commission, where the client alleged that, during the week of 10 August, 2015, options
            trading was halted within the Company and as a result clients lost a substantial amount of
            money. The deficiency in not maintaining a Central Register/Log may prevent SASL from
            compiling and resolving all complaints and unusual circumstances in a timely manner.

            6.9b Examiners were provided a complaint log with thirty-four (34) clients from Alexis Hanna,
            CSC Supervisor, however, only obtained the support for twenty (20) client complaints. Of the
            twenty (20) tested, there were two (2) complaints whereby, examiners were not able to



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            determine whether a proper response was submitted within fourteen (14) days. All other
            complaints sampled were in compliance with legislation.

            See appendix L for customer complaint log.
            See appendix L for compliant filed with the Commission (Kramp 1,2,3,4).
            See appendix L for customer complaint testing.

            Legislation

            Securities Industries Regulation, 2012 (75) – Complaints

            A registered firm shall establish effective complaints handling systems and procedures that
            ensure that

                   (a) adequate records of complaints, including a central register, are established and
               maintained;

                     (b) all complaints are responded to in writing within 14 days of receipt of the
                     complaint; and (c) each complaint is effectively and fairly resolved.

            Breach

            SASL does not maintain a centralized customer complaint log and the proper support to show
            evidence that a response is submitted to all client complaints within fourteen (14) days. The
            Customer complaint log provided is that which has been recently started and maintained by
            Alexis Delancey, Supervisor Customer Support Centre, however, customer complaints or
            queries can be received and resolved by any other department within the organization.

            Recommendation

            SASL must ensure that they maintain a centralized customer complaint log and the proper
            support to show evidence that a response is submitted to all client complaints within fourteen
            (14) days. The deficiency in maintaining a Central Register/Log may prevent the Registrant
            from compiling and resolving all complaints and unusual circumstances in a timely manner.

            TRADING

            6.10a During a review of the trading operations and the risk monitoring of client margin
            accounts perform by the risk team, the following was noted:


                 Report does not show who prepared and or reviewed the risk analysis report
                 The report appears to be incomplete as the required objectives are not selected
                  proving that the work was performed
                 No manager sign off

            A significant amount of clients with negative equity balances due to trading losses which
            presents a significant risk to SASL not being able to recover losses since most of the clients opt
            to let accounts be deactivated rather than injecting additional funds to cover such losses.


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             As noted in the external auditor’s BDO Chartered Accountants 12-31-2014 management
             comment letter to SASL, higher limits should be set on the amount of trades a client can place
             base on their equity balance.

             SASL should ensure this area is well monitored by the risk analysis team to possible reduce
             the amount of negative balances in client accounts.

             6.10b A review of SASL trading department operations, along with inquires made of the
             department, it was revealed that Michael Bain as the Trade Desk Manager is not currently
             registered with the Commission as a trading representative. Examiners noted that in the
             capacity of a managerial role, possibilities can occur that can put Mr. Bain in situations to act
             as a registered trading representative in assisting clients. During a walkthrough of SASL
             trading operations, no evidence was obtained to support the claim of Mr. Bain conducting
             trades on client’s behalf and not registered with the Commission.

             See appendix P for Michael Bain Job Description

             Legislation

             Securities Industry Regulation, 2012 – 74 (2)(b) - Supervision, compliance and risk
             management systems

             A registered firm must establish, maintain and apply a system of controls and supervision
             sufficient to -

                      (b) manage the risks associated with its business in conformity with prudent business
                      practices.

             Breach

             SASL did not ensure that the risk monitoring report objectives were completed and signed off
             indicating that the work has been performed.

             Recommendation

             SASL must ensure that the risk monitoring reports are completed and signed to ensure a
             system of controls and supervision sufficient to manage the risks associated with its business.

     REPORTING OBLIGATIONS TO THE COMMISSION

     6.11 Determine if the registrant is compliant with its reporting requirements to the Commission.
     [Regulation 17, 49 – 50, & 91 of the SIR 2012]

     6.11a Examiners confirmed that SASL did not file its quarterly filings interim financial statements and
     Financial and operational report Form 13 within the timeframe prescribed; therefore, not satisfying
     the Commission’s requirements. The following was confirmed by the Market Surveillance Department
     (MSD):



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     6.11b SASL was not compliant in submitting its interim financial reports for quarters 1, 2, 3 or 4 of
     2015.

               As it relates to the Q1 2015 interim reports which was received 26 May 2015, the
                Commission imposed a penalty of $700.00 for the period 19-25 May, 2015. The penalty
                fee was received on 12 June, 2015. Furthermore, SASL was not complaint with its
                certification regarding reconciliations and segregation requirement of Division 2 of part VII
                of the regulation for Q1 of 2015.

               As it relates to Q2 2015 late filing of the interim reports which was received 29 March
                2016, the Commission imposed a penalty of $6,000.00 for the period 28 October, 2015 -
                28 December, 2015. To date, the Commission is not in receipt of the request.

               SASL Q3 2015 late filing of the interim reports was received 29 March 2016, after the
                prescribed time frame of October 30th, 2015.

               SASL Q4 2015 late filing of the interim reports was received 16 March 2016, after the
                prescribed time frame of January 30th, 2016.

               As it relates to Q1 of 2016 interim reports, SASL requested an extension, however that
                extension has not been granted and is pending correspondence between SASL
                management and The Commission on the previous penalty imposed in 2015.

     6.11c SASL was not compliant in submitting the information set out in Form 13 of Schedule 2 (Financial
     & Operational Report) for quarters 1, 2, 3 and 4 of 2015 and Q1 of 2016.

     6.11d The Market Surveillance Department provided a Risk Assessment Brief indicating that Mr. Guy
     Gentile was charged with perpetrating penny stock manipulation schemes by the Securities and
     Exchange Commission on 23 March 2016. In addition, The Enforcement Department provided an e-
     mail correspondence indicating that the department was aware of the regulatory action being taken
     against Mr. Guy Gentile by the SEC.

     Upon inquiry; Mr. Antonio Collie (President/CFO/Director) informed examiners that Swiss America
     Securities Ltd (SASL) is aware that Mr. Guy Gentile was charged with perpetrating penny stock
     manipulation schemes by the Securities and Exchange Commission. However, the Commission was
     not notified of such by SASL.

     Legislation

     Securities Industry Regulation, 2012 – 62 (1)(b) - Notice Of Change Of Information - After Registration

     (1) A registered representative of a registered firm shall promptly deliver a notice to the Commission
     and the registered firm if that representative:

     (b) is named as a defendant or respondent in any criminal or regulatory proceeding or any civil
     proceeding, either domestic or foreign, exceeding twenty-five thousand dollars

     Breach



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     A registered representative of SASL did not inform the Commission that the Securities and Exchange
     Commission charged him with perpetrating penny stock manipulation schemes in the amount of
     $17,000,000.

     Recommendation
     A registered representative of SASL must promptly deliver a notice to the Commission if that
     representative is named as a defendant or respondent in any criminal or regulatory proceeding or any
     civil proceeding, either domestic or foreign, exceeding twenty-five thousand dollars.

     RECONCILIATIONS

     6.12 To ensure reconciliations are being performed and differences (if any) are corrected immediately.
     [Regulation 87 of the SIR, 2012] [Regulation 20(1) (a) (b) of the SIR, 2012]

     6.12a Examiners selected reconciliations for the months ending February, June, December 2014, and
     May 2015 to ensure that reconciliations were being performed in accordance with the legislations.

          On balances with banks on a monthly basis
          On its own records of client assets (with accountable statements for Custodians)

     6.12b SASL does not perform bi-monthly reconciliations of its records of client assets for which it is
     accountable with the statements reconciliations of its client assets with the custodian statements for
     Checkbook Inc.

     6.12c In addition, Danielle Romer - Assistant Financial Controller is responsible for reconciling all
     accounts in a timely manner. It was noted during an interview with Ms. Romer, that there is a back
     log in the reconciliations being prepared for the 2015 period on some of the accounts. The
     reconciliations do note the preparer however, a review by management is not indicated on the
     reconciliations prepared. Mr. Collie is responsible for reviewing all reconciliations for accuracy.

     See appendix M for late reconciliation preparation.

     Legislation

     Securities Industry Regulations, 2012 – Regulation 87 (1)(a)(i)(c)(iii) – Reconciliations

     87. (1) A registered firm shall perform re-conciliations as often as necessary to ensure the accuracy
             of its records, and shall perform reconciliations –

                     (a) At least once every month –
                              a. On all balances with banks;

                      (c ) at least twice per month-
                                 (iii) on its records of client assets for which it is accountable with
                                statements obtained from the custodian.

     Breach (es):




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     SASL is not performing reconciliations at least twice per month on its records of client assets for which
     it is accountable at the custodian.

     Recommendation:

     SASL must ensure reconciliations of its record of client assets for which it is accountable with
     statements obtained from the custodian are performed at least twice per month as prescribed by
     legislation.

     SEGREGATION OF CLIENTS ASSETS

     6.13 To determine if the company holds clients’ assets and that the assets are separate and apart from
     its own. [Regulation 88 of the SIR, 2012]

     Examiners review of the company’s accounts, operating systems and inquiry of management, revealed
     that SASL maintains its assets in segregated bank accounts from that of its clients’ accounts.

     A review of SASL’s accounts and internal systems revealed the following:

          SASL has one (1) Bahamian dollar (BSD) operating account with Bank of The Bahamas B$
           account # - A/C NO. - BSD – 1350003824 with an ending balance of $20,783.85 as at 31 March
           2016;
          SASL one (1) fixed deposit with British Caribbean Bank with a balance of $1,030,000 as at 31
           December 2015;
          SASL has twelve (12) other operating firm bank accounts as listed below:

                                                      31 March 2016
                    #    Bank Account Name                                         Amount
                    1    Capital Security Bank                                 $    889,100.00
                    2    Citi Bank                                             $    249,537.49

                    3    Citibank N.A SAS (UK) Ltd;                            $    100,000.00
                    4    DBS Bank Ltd SAS (UK) Ltd.;                           $    854,624.81
                    5    DBS SAS Group Ltd;                                    $    100,142.85
                    6    Hellenic Bank Public Company Ltd. - EUR               $          14.17
                    7    HSBC SAS (UK) GPB;                                    $              -
                         Oppenheimer & Co. with five (5) sub accounts:
                    8                         G42-0108321                     -$          95.16
                    9                         G79-1372928                      $            0.15
                    10                        G42-0098035                      $     10,128.42
                    11                        G42-0107513                      $            9.81
                    12               G79-1372647 - January 31 2016             $              -

          SASL has two (2) main brokerage accounts with:
              o Interactive Brokers with SASL maintaining three sub accounts:




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                   #   Bank Account Name                                               Amount
                       Interactive Brokers - 11043365 - Balance at 31-3-2016
                   1                                                           $       1,687,064.09
                       Interactive Brokers - 1043811 Balance at 31-12-2015
                   2                                                           $       3,831,582.90
                       Interactive Brokers - 1043812 Balance at 30-11-2015
                   3                                                           $       1,726,426.06

              o Electronic Transaction Clearing Inc.
          SASL maintains clients’ cash and securities at the following Brokers/Custodians:

                                              SWISS CUSTODIAL ACCOUNTS
      BANK NAME                                  ACCT #              MONTH         BALANCE
      CitiBank Client Checking           4996933780                31-03-2016      $    1,049,133.17
      DBS Bank Ltd.                      0003-027144-01-7-022      31-03-2016      $      100,139.11
      DBS Bank Ltd. SAS Client Custody   0003-027099-01-9-022      31-03-2016      $    6,500,110.94
      Deltec Bank & Trust Ltd.                                     31-01-2016      $      834,111.88
      Equity Bank & Trust (Bahamas)
      Ltd.                               1.3.00084.01 USD          31-03-2016      $      249,626.97
      Global Transaction Services USD    9120256963                31-03-2016      $      190,876.91
      Key Bank US Money Market           7108190                   31-12-2015      $          170.23
      Key Bank US Checking               1001605                   31-12-2015      $      917,118.94
                                                Online Payment Providers
      BANK NAME                                  ACCT #              MONTH                      BALANCE
      Checkbook Io.                                                31-01-2016      $    2,391,861.20
      Concept Payments
      Mistralpay
      Nettler
      Skrill
      COINX

     NOTE: Online Payment Providers – Examiners were not able to obtain the 2016 balances for the online
     payment provider accounts noted above up till 5 June 2016. The information is currently pending
     from SASL management.

     A review of the custody accounts held at the various Brokers/Custodians listed above, confirmed that
     only clients’ cash and securities are maintained in those accounts. As such it appears that SASL
     cash/securities are properly segregated from that of its client.

     However, examiners noted (refer to 16.4d) that client funds were removed and transferred to SASL
     operating accounts. Of the eight (8) custodial accounts above, examiners noted various transfers to
     SASL operating accounts from three of the client accounts (Citibank Client Checking, Global
     Transaction Services and Scotia Bank US #2646 – which was closed in November 2015). Management
     was not able to provide examiners with a sweep report indicating which client owed fees and what
     amounts were removed from the custodial accounts. In addition, this can be attributed to



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     reconciliations not being prepared on a timely basis (refer to 6.12) to determine and keep proper
     records of the amount of funds transferred between various accounts.

     USE OF CLIENTS’ ASSETS

     6.14 To determine if the Registrant is making improper use of client’s securities or funds. [Regulation
     84 of the SIR,2012]

     6.14a During review of the operating accounts of the firm, Examiners observed monthly transfers of
     funds from the Citibank and Scotia US dollar account (where only client funds are held) to SASL’s
     Citibank and BOB B$ Operating Accounts. Further Inquiry with Mr. Antonio Collie –
     President/CFO/Director, explained that on a monthly or quarterly basis, SASL can deduct the fees from
     the client account, as payment of trading and commission services to SASL.

     6.14b Examiners received a fee report which depicts the amount of funds owed to SASL along with
     the listing of clients and the fees associated to each customer account; however, discrepancies were
     noted in the reports provided. Examiners are awaiting managements response.


                             AMOUNT PER FEE                 AMOUNT PER
                               SUMMARY                       SUMMARY
       2015 MONTHS          INCOME SCHEDULE              COMMISSION/FEES DUE              VARIANCE

      JANUARY            1,066,037.76                 1,288,021.96                       221,984.20
                                                                                         -
      FEBRUARY           1,042,902.69                 970,181.62                         72,721.07
                                                                                         -
      MARCH              1,095,156.89                 1,034,860.71                       60,296.18
                                                                                         -
      APRIL              1,179,044.80                 1,148,661.69                       30,383.11
                                                                                         -
      MAY                1,158,744.10                 1,131,358.35                       27,385.75
                                                                                         -
      JUNE               1,177,280.65                 1,138,666.25                       38,614.40
                                                                                         -
      JULY               1,234,231.36                 1,200,632.04                       33,599.32
                                                                                         -
      AUGUST             1,201,570.20                 1,176,107.81                       25,462.39
                                                                                         -
      SEPTEMBER          1,042,601.03                 990,745.17                         51,855.86
                                                                                         -
      OCTOBER            1,199,785.66                 1,159,878.16                       39,907.50
                                                                                         -
      NOVEMBER           1,017,353.10                 987,012.10                         30,341.00
                                                                                         -
      DECEMBER           1,388,624.30                 1,329,495.35                       59,128.95
                                                                                         -
      TOTAL              13,803,332.54                13,555,621.21                      247,711.33



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     6.14c In addition, Mr. Collie noted that as SASL has such vast amounts owed from its client, SASL
     remove funds occasionally. For the 2015 period Mr. Collie provided examiners with a report that
     showed SASL removed $1,250,000 from the clients Citibank US custodial account to its Citibank
     operating account.

          September 2015 - $500,000
          December 2015 – 750,000


     6.14d Upon further review, examiners noted more than the above mentioned was transferred from
     clients custodial account to SASL operating accounts. Examiners inquired again of Antonio Collie –
     President/CFO/Director who provided the below response as to transfer of funds from the clients
     custodial account to SASL operating accounts: “SASL experienced a banking restructuring exercise
     where many of the client’s fund were being transferred because of terminated banking relationships
     with SASL. Mr. Collie went on to explain that because it operates as a online brokerage firm, many
     banks didn’t want to be associated with such services as it is considered high risk and as a result a lot
     of our banking relationships were ceased. In addition, this caused SASL having to seek other banking
     institutions to secure its cash.”

        Transfer from Account            Date         Amount             Description             Notes
                                                                   Transfer to Swiss
     Scotia US Client - 400-2646      07-07-2015     450,000.00    America Securities Ltd.
                                                                                               Transfer to
                                                                                                Operating
                                                                                             a/c#G42xx7513
                                                                   Transfer to               (cleared Aug 3,
     Scotia US Client - 400-2646     7/21/15        450,026.88     Oppenheimer Acct T403         2015)??
                                                                   Transfer to
     Scotia US Client - 400-2646     7/22/15        475,026.88     Oppenheimer Acct T403
                                                                   Transfer to
                                                                                               Transfer to
     Scotia US Client - 400-2646     7/29/15        425,026.88     Oppenheimer Acct T403
                                                                                                Operating
                                                                   Transfer to
                                                                                             A/C#G42xx7513
     Scotia US Client - 400-2646     7/29/15        450,026.88     Oppenheimer Acct T403
                                                                   Transfer to
     Scotia US Client - 400-2646     7/30/15        450,026.88     Oppenheimer Acct T403
                                                                   Transfer to Swiss
     Scotia US Client - 400-2646       08-04-2015   390,000.00     America Securities UK
                                                                                                Transfer to
                                                                   Transfer to                  Operating
     Scotia US Client - 400-2646       08-04-2015   2,500,000.00   Oppenheimer & Co          a/c#G42xxx8035
                                                                   Transfer to Swiss
     Scotia US Client - 400-2646       11-11-2015   532,775.34     America Securities Ltd

      Total Scotia Client Transfer                  6,122,909.74


        Transfer from Account            Date         Amount             Description             Notes
     CITI CLIENT CHECKING
     X33780                             02-Dec-15   250,000.00     Transfer to Checking


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     CITI CLIENT CHECKING
     X33780                          21-Dec-15   250,000.00     Transfer to Checking
     CITI CLIENT CHECKING
     X33780                          24-Dec-15   250,000.00     Transfer to Checking
     CITI CLIENT CHECKING
     X33780                          15-Jan-16   50,000.00      Transfer to Checking
     CITI CLIENT CHECKING
     X33780                          25-Jan-16   300,000.00     Transfer to Checking
     CITI CLIENT CHECKING
                                                                                           Transferred to CITI
     X33780                          08-Feb-16   400,000.00     Transfer to Checking
                                                                                             OPERATING X
     CITI CLIENT CHECKING
                                                                                                 40993
     X33780                         07-Mar-16    400,000.00     Transfer to Checking
     CITI CLIENT CHECKING
     X33780                         11-Mar-16    500,000.00     Transfer to Checking
     CITI CLIENT CHECKING
     X33780                         11-04-2016   250,000.00     Transfer to Checking
     CITI CLIENT CHECKING
     X33780                         13-04-2016   400,000.00     Transfer to Checking
     CITI CLIENT CHECKING
     X33780                         26-04-2016   400,000.00     Transfer to Checking
     Total Citibank Client
     Transfer                                    3,450,000.00



     2015 TOTAL FEE'S TRANSFERRED                9,572,909.74



     Examiners discovered that SASL was not keeping a proper sweep report that detailed which clients
     and the fees associated with each account made up the lump sum amounts being removed from the
     clients custodial account.

     6.14e It was observed during the review of the Account Opening Documents of SASL and discussion
     with Mr. Collie, that the ‘Account Application Client Agreement of SASL includes a clause where clients
     acknowledge that their securities “may be loaned to you (the firm) or loaned out to others”.

     Furthermore, The Account Application Client Agreement (addendum to the account opening
     document) revealed a clause which provides, SASL with prior written consent from clients to utilize
     clients’ securities (not cash). Section 25 - Custody of Customer Assets of the Account Application states
     that “Swiss America declares that the Customer will enjoy a beneficial ownership in (a) securities
     purchased on its behalf and (b) any free cash balances held by Swiss America for the account of the
     Customer and these assets are not to be treated as general assets of Swiss America.”

     Examiners tested a sample of seventy-seven (77) clients’ accounts which showed that all customer
     files maintained a signed copy of the Client Agreement agreeing to the above clause.

     See Appendix N for SASL’s Account Application.

     6.14f A review of SASL 31 December 2015 interim yearend draft reports revealed an investment
     convertible note of $65,000. Examiners inquired of Mr. Antonio Collie (President/CFO/Director) who
     informed examiners that the investment security belonged to SASL. However, upon further review, it


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     was noted the investment was purchased from one of SASL client custodial accounts – Global
     Transaction Services (GTS) where clients cash is held. When asked of Mr. Collie why the security was
     purchased using the clients account and not SASL operating accounts, he could not provide an answer
     to examiners.

     See Appendix O for Convertible Note
     See Appendix O for QuickBooks Extract
     See Appendix O for email correspondence from GTS

     6.14g A review of SASL's operations in conjunction with inquiry with Mr. Antonio Collie
     (President/CFO/Director) revealed that SASL has outsourced some of its responsibilities however the
     Commission was not given notification of the arrangements between SASL and Cloud Carib Limited or
     DAS Inc. DAS Inc. provides SASL with back office suite and risk system, simulated trading platform,
     support services and Cloud Carib acts as SASL web server.

     SASL must give the Commission prompt notice of its outsourcing arrangements if SASL enters into an
     arrangement with a third party service provider whereby that service provider will undertake a
     material business function, activity or process on behalf of SASL.

     Legislation

     Securities Industry Regulations, 2012 – 44(1) – Outsourcing

     If a registered firm proposes to enter into an arrangement with a third party service provider whereby
     that service provider will undertake a material business function, activity or process on behalf of the
     registered firm, the registered firm shall give the Commission prompt notice of such outsourcing
     arrangement.

     Breach

     SASL did not provide the Commission prompt notice of its outsourcing arrangements with Cloud Carib
     Limited or DAS Inc. as per the legislative requirement.

     Recommendation

     SASL must give the Commission prompt notice of its outsourcing arrangements if SASL enters into an
     arrangement with a third party service provider whereby that service provider will undertake a
     material business function, activity or process on behalf of SASL.

     OTHER MATTERS

     6.15 SASL had difficulty in providing proper source documents for information requested. In particular
     client withdrawal/incoming transactions. In addition, other documents presented were at times
     incomplete due to SASL not being able to locate information as requested.

     6.15a During the on-site examination, examiners were provided with verbal communication that SASL
     had experienced a security breach by a Russian Hacker in its operations where client funds were
     removed from its account and caused a substantial loss to SASL. To ascertain the information further,
     examiners conducted several interviews with SASL President/CFO/Director Antonio Collie,


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     Information Technology Manager Lorenzo Lewis, staff from the customer service department, as well
     banking and funding department; all of whom confirmed they were not aware of SASL operations ever
     experiencing a system hack. Despite the information presented to examiners by a management
     member of SASL team, no physical evidence was able to be gathered to support the above mentioned.
     In addition, the Commission was also not notified of such event. Furthermore, the informant noted
     that they were instructed not to alert the examiners who were on-site at the time of the security
     breach.

     6.15b While the company is transitioning from hard copy to electronic filing and until they are certain
     they have successfully uploaded all files in IBOSS, SASL must ensure that files are also kept in a fire-
     proof room &/or cabinets. While enabling alarms and other security features are useful, this will not
     prevent destruction of integral client information in the event of a natural disaster or fire. Pertinent
     client files were noted throughout SASL office space in filing boxes and not secured in a fire proof
     cabinets or vault.

     6.15c Observation was also made that Janay Pyfrom Symonette - Chief Marketing Officer appears to
     have unrestricted access with editing capabilities to client account opening information through SASL
     IBOSS software with the capability of changing client information (example - approving clients and/or
     assigning or changing risk rating factors). Such information should only be available to line staff for
     viewing access only. CO/MLRO who has the overall responsibility for approving and risk rating clients
     should have editing access.

     6.15d During an interview with Mr. Dorsett, it was revealed that the DAS developers (in particular
     Anthony) have access to delete information whether a mistake or intentional from the system with
     no evidence that the transaction/information ever occurred, leaving no audit trail. This was
     communicated on two (2) occasions during an interview with Mr. Dorsett.

     6.15e During the on-site examination, examiners were presented with various policy manuals. SASL
     must ensure their policy manuals are updated to reflect the firm’s processes. A few areas identified
     by the team in their review were:

             Advertising policies & procedures
             Accounts Receivable
             Reconciliation Process
             Trading
             Compliance
             AML

     7 CONCLUSION

     7.1 The Inspection for cause of SASL’s operations revealed that the firm is not adequate based on the
     following:

         1.   SASL’s failure to conduct proper KYC procedures on clients.
         2.   SASL’s failure to maintain all customer complaints.
         3.   SASL’s failure to maintain proper books and records of its operation.
         4.   SASL’s failure to conduct adequate periodic review of clients’ accounts.
         5.   SASL’s failure to deliver to the Commission documents as requested.



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        6. SASL’s failure to obtain prior consent from the Commission with regards to change in its rights
           and obligation.
        7. SASL’s failure to meet its timely continuing obligation to the Commission with regards to
           Financial and Operational reports.

     8 RECOMMENDATION

     8.1 In light of these findings identified during the examination and based on the review of the
     company’s operations, it is recommended that:

         1. Seek consultancy services from industry specialists with strong quantitative analysis skills to
            analyze SASL vast quantities of trade data to identify potentially fraudulent activity, such as
            front running, insider trading, fraudulent investment performance reporting, and window
            dressing
         2. The Enforcement Committee review the information submitted in this report by the
            Inspections Department to closely monitor its client complaint and suspicious transactions
            for fraudulent activities.
         3. The inspections department conduct a follow up on the operations of SASL by the 2016
            yearend.




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Securities Commission
of The Bahamas
Review of Swiss America
Securities Limited (“SASL”)

21 February 2018
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Procedures performed

1. Held fact gathering meeting on 8 August 2017 at the SASL office in Nassau to discuss the background and
   operations of the company.

2. Requested and obtained additional data from SASL including:

   a. Download of trade data directly from DAS for the period 1 January 2014 through 30 June 2017

   b. Client listing and equity position as of 1 January 2016 (approx. $8.2M)

   c. Selected policies and procedures

3. Reviewed and analyzed the following SASL polices and procedures:

   a. Account opening process and procedures

   b. Compliance manual and compliance function

   c. Securities risk manual

   d. Funding and banking process and procedures

4. Performed forensic data analytics on the trade data provided by SASL to identify trends or anomalies within the
   data.

5. Performed open source research.




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Procedures performed


6.   Presented our initial findings to the Securities Commission of the Bahamas (“SCB”) on 23 October 2017.

7.   Held in-person meetings in the SASL office on 27 October 2017 to discuss initial findings.

8.   Following this meeting, additional analytical procedures were performed based on the responses received from
     SASL.

9.   Final meeting held in the SASL office on 19 January 2018 to follow-up on outstanding questions.




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Representations made by SASL management on 8 August
2017

Trading
1. SASL’s trading platform, SureTrader, offers trading of equities and options, however options make up a marginal portion of
   trading activity.
2. The trading activity consists of approximately NASDAQ/NYSE (98%), penny stocks (1%) and options (1%).
3. SureTrader offers leverage models for intraday trading (6:1) and overnight trades (2:1).
4. SureTrader executes approximately 10,000 trades per day and between 200,000-250,000 per month.
5. The average amount of a wire is approximately $2,000. Wires over $10,000 are rare.
6. It is common for many clients to trade the same securities on the same day.
7. SASL serves as the custodian for all trades and is a self-clearing firm.

Clients
1. SASL currently has approximately 17,000 client accounts with assets of approximately $12 million.
2. SASL opens approximately 300 new client accounts per month.
3. The SASL client base consists of individuals and corporations in the following locations:
   a. 40 – 50% - United States (attracted by “no pattern day trader” rules and account minimums);
   b. 10% - Canada (attracted by 6:1 leverage model);
   c. 20% - United Kingdom and Europe (attracted by the opportunity to trade NASDAQ/NYSE stocks); and
   d. Remaining percentage – various global locations.




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Overview of analyzed SASL trade data

The period under scope for our review was 1 January 2014 through 30 June 2017. However, the trade data provided by SASL
also included executed trades from 1 July 2017 through 9 August 2017 (1 January 2014 through 9 August 2017 collectively the
“Review Period”).

In our initial analysis of the trade data, we noted six accounts which began with ‘328’ as opposed to the typical customer identifier
of ‘PFS’ or ‘MBS’, and further follow-up with SASL was required to understand the nature of these accounts and the associated
trading volumes.

We understand from discussions with SASL that the ‘328’ accounts are a combination of SASL’s own proprietary trading (“Prop
Trading”) accounts and a clearing account (32812). Further information in relation to the clearing account is included on page 20
of this report.

The table below summarizes the trade data provided by SASL (during the Review Period), both including and excluding the ‘328’
accounts.
                                                                                                              Customer accounts
                                                                  All accounts
                                                                                                           (excluding ‘328’ accounts)

 Number of executed trades                                        17,578,950                                        5,808,854

 Number of unique tickers traded (including
                                                                     29,068                                          28,991
 options)

 Number of accounts                                                  14,975                                          14,969


 Volume of shares traded                                        8,755,858,054                                    3,531,818,192


 Value of shares traded                                        $76,868,025,062                                  $34,527,016,404

Note: [1] Proprietary trading occurs when a firm or bank invests for its own direct gain. [2] The clearing account (32812) represents a mirror of
all trades executed in both customer and proprietary trading accounts. [3] Source Thomson Reuters, Capital IQ and other public stock market
data.


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Overview of analyzed SASL trade data

The following graphs show the breakdown of trade volume (number of shares), executed trades (number of trades), and value of
trades (dollars value for trades) by year executed in the customer accounts (i.e. excluding the ‘328’ accounts).


                     Volume of shares                                              Number of executed
                      traded by year                                                 trades by year
 1,200,000,000                                                     1,800,000
                                                                   1,600,000
 1,000,000,000
                                                                   1,400,000
   800,000,000                                                     1,200,000

   600,000,000                                                     1,000,000
                                                                    800,000
   400,000,000
                                                                    600,000
   200,000,000                                                      400,000
                                                                    200,000
            -
                                                                          -
                    2014    2015      2016     2017
                                                                                2014      2015       2016       2017

                    Value of shares ($)
                      traded by year
 16,000,000,000
 14,000,000,000
 12,000,000,000
 10,000,000,000
  8,000,000,000
  6,000,000,000
  4,000,000,000
  2,000,000,000
                -
                    2014     2015       2016   2017



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Summary of findings
Test 1 - Identify the most frequently traded tickers
One of the initial representations made by SASL was that customers primarily traded on NASDAQ/NYSE and trading of penny
stocks is minimal. However, the trade data showed that at least of nine the top fifteen most frequently traded tickers by
customers (when based on volume of shares traded) were penny stocks as detailed in the table below.

Most frequently traded tickers based on volume of shares
    Symbol         Volume of shares          Number of trades          Value of trades ($)       Stock price ($)         Market cap ($)           Exchange
    SUNE              40,391,014                   46,801                 258,883,134                   n/a                  n/a                   NYSE
    JNUG              37,952,677                   50,295                 304,661,870                18.3500                 n/a                 NYSE Arca
    PLUG              36,607,798                   37,082                 202,643,074                 2.0800            484,360,000               NASDAQ
    MNKD              29,412,789                   29,316                 165,863,764                 2.8800            436,520,000               NASDAQ
    NUGT              26,723,685                   56,508                 611,444,290                35.3600                 n/a                 NYSE Arca
    UVXY              25,887,544                   58,916                 684,329,371                 9.9200                 n/a                 NYSE Arca
    GENE              23,708,880                   32,062                 102,461,830                 1.7800             51,420,000               NASDAQ
    GALE              22,975,788                   16,848                  94,125,079                 0.2910          399,225,000,000             NASDAQ
    TVIX              22,259,002                   32,741                 177,523,255                 5.4300                 n/a                  NASDAQ
    AMD               19,179,256                   28,145                 189,881,471                12.8900          11,973,150,000              NASDAQ
    GBSN              17,375,932                   17,339                  44,058,830                0.1300                710,000              OTC Market
    HEMP              17,210,248                    2,436                  2,953,216                 0.0277               7,587,000             OTC Market
    VLTC              16,901,360                   31,665                 128,200,432                1.3239              12,140,000             OTC Market
    FCEL              16,793,914                    5,942                 55,104,664                 1.7600             163,870,000               NASDAQ
     ISR              16,707,152                   15,590                 47,740,468                 0.4856             25,340,000             NYSE American

Notes: [1] Stock Price and Market cap is quoted as at 26 January 2018 where available. [2] The above table excludes trades in all “328” accounts. [3] For the
purposes of this analysis, penny stocks are those with a stock price of less than $5.00 per share. [4] Certain stocks have been delisted or no longer trade under
the ticker listed in the trade data provided, thus the stock price for these tickers have been listed as not available, N/A)




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Summary of findings
Test 1 - Identify the most frequently traded tickers
During the meeting with SASL in October 2017, Mr. Guy Gentile, CEO of SASL, indicated that the initial trading patterns which
were referenced during the kickoff meeting in August were based on the number of trades executed rather than the number of
shares traded.

In view of these comments, we completed further analysis on the trade data to identify the most frequently traded tickers by
customers, when based on the number of trades executed and the value of trades. The results of which are shown in the tables
below.

Most frequently traded tickers based on number of trades

   Symbol      Number of trades     Volume of shares    Value of trades ($)   Stock price ($)   Market cap ($)     Exchange
    FRX             60,244            11,102,266          1,038,007,709           0.0760           14,720,000        NYSE
   UVXY             58,916            25,887,544           684,329,371            9.9200               n/a         NYSE Arca
   NUGT             56,508            26,723,685           611,444,290           35.3600               n/a         NYSE Arca
   JNUG             50,295            37,952,677           304,661,870           18.3500               n/a         NYSE Arca
    VRX             46,857            16,540,811            46,633,760           19.3200         6,864,210,000       NYSE
   SUNE             46,801            40,391,014           258,883,134              n/a                n/a           NYSE
    ACT             44,874             3,529,504           737,627,538              n/a                n/a            n/a
     FB             42,056            12,476,955           848,597,100          190.0000               n/a          NASDAQ
   PLUG             37,082            36,607,798           202,643,074           2.0800           484,360,000       NASDAQ
   TVIX             32,741            22,259,002           177,523,255           5.4300                n/a          NASDAQ
   GENE             32,062            23,708,880           102,461,830           1.7800            51,420,000       NASDAQ
   VLTC             31,665            16,901,360           128,200,432           1.3239            12,140,000      OTC Market
   TWTR             30,349            10,020,361           330,595,652          24.2700         16,460,300,000       NYSE
   MNKD             29,316            29,412,789           165,863,764           2.8800           436,520,000       NASDAQ
   AMD              28,145            19,179,256           189,881,471          12.8900         11,973,150,000      NASDAQ

When based on number of trades executed, the number of penny stocks traded reduced from at least nine to five.




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Summary of findings
Test 1 - Identify the most frequently traded tickers
Most frequently traded tickers based on value of trades ($)
   Symbol      Value of trades ($)   Volume of shares     Number of trades   Stock Price ($)    Market Cap ($)      Exchange
     FRX        1,038,007,709          11,102,266             60,244             0.0760           14,720,000         NYSE
      FB         848,597,100           12,476,955             42,056            190.000               n/a           NASDAQ
     ACT         737,627,538            3,529,504             44,874               n/a                n/a             n/a
    UVXY         684,329,371           25,887,544             58,916             9.9200               n/a          NYSE Arca
    NUGT         611,444,290           26,723,685             56,508            35.3600               n/a          NYSE Arca
    AAPL         498,003,511            3,158,744             18,990           171.5100        878,531,700,000      NASDAQ
     VRX         486,633,760           16,540,811             46,857            19.3200          6,864,210,000       NYSE
   GOOG          457,296,399             812,409              13,500          1,175.8400       819,345,600,000      NASDAQ
   GOOGL         454,530,405             826,160              12,759          1,187.5600       819,345,600,000      NASDAQ
    TSLA         349,204,283            1,579,362             13,054           342.8500         56,746,230,000      NASDAQ
   TWTR          330,595,652           10,020,361             30,349            24.2700         16,460,300,000      NASDAQ
    JNUG         304,661,870           37,952,677             50,295            18.3500               n/a          NYSE Arca
    NFLX         292,646,606            1,954,440             13,737           274.6000        116,707,500,000      NASDAQ
    SUNE         258,883,134           40,391,014             46,801               n/a                n/a            NYSE
   NVDA          213,261,889           2,154,311              12,639           243.3300        143,228,100,000      NASDAQ

When based on value of shares traded, the number of penny stocks reduced from at least nine to one.

As noted, the previous three tables in relation to frequently traded tickers, exclude trades through the ’328’ accounts. We have
completed a high level analysis of the Prop Trading accounts 32810 and 32813, and have summarized the most frequently
traded tickers in these accounts by volume of shares traded, number of trades executed, and value of trades executed. These are
shown in the tables in Appendix A (pages 22-27) to this report.




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Summary of findings
Test 1 - Discussions on SASL customers and frequently traded
tickers
►   SASL noted that customers typically open accounts with SASL after hearing about the company on trading community
    chatrooms.
►   In some instances, certain customers may be referred to SASL, however, no compensations is paid in relation to this. The
    customer is typically given the recommendation as a result of attending a course/seminar that ‘teaches’ them to trade (e.g.
    seminar hosted by Timothy Sykes, a well known penny stock trader).
►   SASL noted that they did previously have an agreement in place with Timothy Sykes who would refer customers to SASL,
    but this expired in 2014 and no new agreements were executed with him or any other party.
►   We discussed with SASL the nature of day trading and enquired on the mechanisms that SASL have in place to connect their
    customers and facilitate information sharing, along with SASL’s role in this.
►   Mr. Gentile commented that it is common for SASL customers to trade the same securities on the same day.
►   It was also noted that the Suretrader website issues a daily update on the most actively traded tickers, along with other
    trading information.
►   SureTrader has also recently set up an Instagram account which also publishes the trading information.
►   We have separately found a Twitter account for SASL which appears to publish daily updates on the most actively traded
    stocks at SureTrader (@SureTraders).




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Summary of findings
Test 1 – Observations related to SunEdison Inc. (SUNE)
1. 20 July 2015 - SunEdison purchases Vivint Solar Inc. for $2.2 billion
2. 7 October 2015 – SASL trading of SUNE spikes to a record high
3. 11 December 2015 - Shareholder Class Action Filed Against SunEdison, Inc. which alleges SunEdison and certain of its
   senior executive officers issued a series of false and misleading statements, and omitted to disclose material
   information to investors during the Class Period of 16 June 2015 and 6 October 2015. (https://www.ktmc.com/new-
   cases/sunedison-inc)
4. 21 April 2016 - SunEdison files for Chapter 11 bankruptcy protection
5. 17 May 2017 – SUNE is delisted from NYSE and now trades as SUNEQ on OTC markets
6. 25 July 2017- SunEdison wins final approval for its bankruptcy plan




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Summary of findings
Test 1 – Observations related to Hemp Inc. (HEMP)
1. 3 February 2014 through 6 February 2014 – Significant increase in trading activity
2. 4 August 2014 - Pump and dump: SEC v. Galas, Civil Action No. 14-cv-5621 filed against Michail Galas, Alexander
   Hawatmeh, Christopher Mwroca and Tovy Pustovit. The defendants are charged with manipulating the share price of six
   microcap stocks since 2012 using coordinated trading, aggressive promotions over the internet through social media
   and e-mails. The six securities include ISML, ADPC, ADSU, PHOT, HEMP and RVDO.
   (https://www.sec.gov/litigation/complaints/2014/comp-pr2014-159.pdf)
   a. PHOT, HEMP and RVDO were traded by SASL
   b. Tovy Pustovit is a SASL customer (account number PFS03985)




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Summary of findings
Test 1 – Observations related to Hemp Inc. (HEMP)
►   From a review of the trade data we noted that:
      ►   Account PFS03985 had not completed any trades in HEMP during the Review Period;
      ►   SASL, using their Prop Trading account had completed minimal trading in HEMP during the Review Period; and
      ►   SASL customers have traded for approximately $3,000,000 worth of HEMP shares during the Review Period.

►   We discussed the trading of HEMP with SASL and requested that they provide us with the following additional information:
      ►    The equity position and movements on account PFS03985 since it was activated with SASL;
      ►    Details of all trades in HEMP by account PFS03985 prior 1 January 2014 (prior to the Review Period); and
      ►    Details of all trades in HEMP by SASL, using their Prop Trading account prior 1 January 2014 (prior to the Review
           Period).

►   We were advised that account PFS03985 was never made active as there was a missing application document. We were
    further advised that when a customer applies to open an account with SASL they are assigned an account reference, but the
    account is only active once all documentation is received.

►   SASL provided the equity position for account PFS03985 for the period 18 January 2000 to 18 January 2018, which
    confirmed it was nil for the entire period.

►   Furthermore, Mr. Gentile advised that SASL did not start proprietary trading until late 2015, therefore there would be little
    or no trades in HEMP executed by SASL in their Prop Trading account prior 1 January 2014. In view of this information, we
    reviewed the trade data for the ‘328’ accounts and did not identify any significant volumes of trading for HEMP during the
    Review Period.




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Summary of findings
Test 1 - Market surveyor
►   SASL advised that a third party, ‘Market Surveyor’ (“MS”), monitors the trades that are processed through SureTrader.
    SASL explained that this company uses technology to detect instances of potential fraud and provides SASL with reports to
    identify transactions which have been flagged as potentially fraudulent. It also reports instances of significant customer
    gains/ losses.

►   Over the course of our discussions, SASL advised that their trades would be ‘flagged’ on MS’ reviews under suspicion of
    ‘wash trading’ was occurring at SASL. Wash trading refers to buying shares through one broker and selling through another,
    in order to manipulate the market and encourage other investors to move into a buying position. They would also flag the
    large volumes of shares being moved on a daily basis.
►   SASL explained that this was a result of MS viewing trades from SASL in a single account rather than an individual customer
    account basis. In addition, whilst MS now understand the structure of SASL’s trading (namely that all customer trades are
    executed by SASL and not directly by the customer’s account), including that customers regularly trade the same stocks, MS
    may still flag any activity that is deemed suspicious in accordance with their regulations.
►   We requested copies of the MS reports that SASL receives, however, were advised that MS’ relationship and all
    documentation is with Mint Global Markets Inc. (formerly Stock USA Execution Services) (“Mint Global”) and that SASL does
    not have any supporting documentation from MS. Mint Global is the firm which SASL execute their equity trades through.
    We found this response to be vague and could not confirm or deny the statement made by SASL.
►   We have also been unable to locate any information on this company independently. Further clarification will be needed on
    the legal entity name of MS.
►   SASL advised in October 2017 that one customer’s account had been shut down as a result of MS, due to a suspicion of
    layering. When asked to provide additional detail on the said customer account, SASL advised that the account was
    identified internally and that they could not recall the account details furthermore that the staff member who dealt with the
    matter was no longer at SASL. Mr. Gentile confirmed that SASL noticed that the customer was making consistent profits and
    larger wires so SASL internally reviewed the customers activity. It was during this review that they suspected layering based
    on Mr. Gentiles’ personal knowledge.
►   SASL advised that customer accounts would be reviewed internally if wires exceeding $10,000 were being made due to the
    nature of their customer’s trading.


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Summary of findings
Test 2 - Identify the highest trading accounts

►   Highest trading accounts with standardized customer numbers based on volume of shares traded:

          Account holder            Account holder             Account        Volume of       Number             Value of         % of total
     ID
              type                      name                   number       shares traded     of trades         trades ($)      shares traded

     1      Individual               Simon Amos               PFS01970      112,583,468         60,708        530,681,642           3.2%

     2      Individual       Alexander Dmitrievich Kostrov    PFS02578       51,354,291         14,410         28,467,809           1.5%

     3      Corporate              Nevis Capital LLC          PFS01402       50,913,967        151,939        1,556,999,875         1.4%

     4      Corporate             Arxcis Trading LLC          PFS02472       41,165,456        345,705        4,280,033,462         1.2%

     5      Corporate            Nostrum Trading LLC          PFS02341       37,674,006        124,239        1,672,237,213         1.1%



►   Highest trading accounts with non-standardized customer numbers:
                                   Account holder             Account             Volume of               Number                Value of
     ID   Account holder type
                                       name                   number            shares traded             of trades            trades ($)

      1         Clearing                SASL                  32812             4,393,055,556            10,075,284          36,979,405,569

      2        Proprietary              SASL                  32813              804,600,933              1,672,748          5,153,249,569

      3        Proprietary              SASL                  32810              25,231,451                21,647             197,325,410

    Note: 32812 has been identified as a clearing account which is a mirror of all trades executed in both customer accounts and proprietary
    accounts. 32813 and 32810 have been identified as proprietary accounts.



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Summary of findings
Test 3 – Stratification of trading activity by broker

►   Top three highest trading brokers by volume of shares traded in customer accounts:

                                                                              Volume of                Number of                 Value of
      ID       Broker symbol                 Broker name
                                                                            shares traded                trades                 trades ($)
      1             SURE                     SureTrader                    2,079,172,747               3,432,091             17,792,377,501
      2             ARCA               Arca Capital Investments             234,286,264                 522,560              4,551,524,622
      3             ALTX                         AltX                       192,143,629                 285,274              1,571,903,071



►   Trades executed without a broker include:[1]

                                                                                                        Number                   Value of
           Broker symbol                     Broker name                       Volume
                                                                                                        of trades               trades ($)
               [Blank]                         Unknown                        818,889                    40,370                  589,771

    Note:
    [1] We followed up with SASL to understand the nature of trading activity without a designated broker and were advised that if a broker
    was not assigned then it would likely be that it is an option. We have reviewed the trade data and this appears consistent with the nature of
    the trades, i.e. the underlying symbol for these trades is related to an option rather than a standard stock symbol.




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Summary of findings
Additional tests

       Test                                                  High level observations

                    • Two trades identified as being executed over the weekend:
                    • We confirmed with SASL that whilst customers have 24 hour access to the platform, trades are only
                     executed between the hours of 8am and 6pm on working days.
                    • Account PFS12991 bought and sold 1,062 shares of RTGN on 16 May 2015 (Saturday)
                            • SASL confirmed that this was a manual trade to reflect a change in the stock symbol on 16
                              June 2015 from RTGN to PULM. There was also a stock split of 2:5 on the same day.

                            • We were provided with evidence from the website ‘marketocracy’ to substantiate this.
Test 4 - Identify
trades outside of           • The trade data shows a manual entry for the above on 16 June 2015. The same was entered
normal trading                on 16 May 2015, however. the shares were bought and sold on the same day for nil value.
hours
                    • Account PFS15783 bought 200 shares of 813991833 on 19 June 2016 (Sunday)
                            • SASL confirmed that this was another manual trade as the rights expired. The stock symbol
                              was EYES but subsequently changed following expiration of the rights.

                            • We were provided with a print screen from ‘speedtrader pro’ to evidence the expiration.

                            • The trade data shows a manual trade on 16 June 2016 for the expired rights and a further
                              manual trade on 19 June 2016 for a rights distribution. We have evidence of a rights
                              distribution however, this was on 19 May 2016.




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Summary of findings
Additional tests
       Test                                                    High level observations

                     • Generally, higher volume trades are charged $0.00 in commission fees.
                     • Two large quantity trades, however, were charged high value commission fees.
Test 5 – Correlate    • Broker: BATS traded 940,000 shares of UWTI and was charged a commission fee of $1,500
quantity with
commissions             (Account 32810).
                      • Broker: BI traded 481,800 shares of USO and was charged a commission fee of $2,500 (Account
                        32810).

                     • Of the 5,808,854 total trades, 6,968 trades were manually entered.
                     • In our discussions in October 2017, SASL advised that manual trades would primarily relate to either
                     options or corporate actions which are entered into the system.
                     • We subsequently reviewed the data and the descriptions in the trade data corroborates with this
Test 6 – Identify    explanation. However, we noted that a number of entries with the comment ‘adjustment’.
volume of manually
entered trades             • We requested additional information on these items however, were informed that the trade data
                             we were provided is a replica of their system, so there would be no additional notes.
                     • We enquired how SASL keep up to date on any corporate actions and were advised that staff review the
                     market for updates, as well as subscribing to various websites which provide a list of corporate actions
                     on a daily basis.

Test 7 – Identify    • UVXY, NUGT and VRX are the most frequently traded tickers between 5:00 a.m-8:00 a.m.
tickers frequently
traded after hours   • TWTR, TVIX and KBIO are the most frequently traded tickers between 5:00 a.m-8:00 a.m.


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Clearing account

►   As previously discussed, we had identified that account 32812 had a significant amount of trades and SASL advised that this
    is a clearing account, and essentially a mirror of all trades executed in the customer and SASL accounts.
►   In view of this, we reviewed the trades in this account against those made in all other accounts to confirm if they reconciled.
►   We found 111 instances in which trade positions were not cleared in the 32812 account and thus appears an open position
    remained.
►   During our January 2018 meeting with SASL, they advised that if the data has been reconciled on a daily basis then open
    positions might remain as customers and/or SASL do not always sell the shares purchased on that day and can hold the
    shares for as long as they wish.
►   We reviewed two of the instances from July 2015 with SASL which related to one stock, DANG:
    ►    On 8 July 2015 purchased 212,170 shares and sold 203,317 shares;
    ►    On 9 July 2015 purchased 196,105 shares and sold 191,565 shares; and
    ►    Total volume difference equals 13,393 shares.
►   SASL were unable to provide us with a full history for trading of the stock, however, they provided daily holding positions
    which eventually demonstrated that the 13,393 shares were sold.
►   The trade data shows this was a manual entry detailed as ‘flatten position’.
►   We reviewed a sample of other instances and identified the same practice for other positions.




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Proprietary trading
Recommended areas of investigation
►   As previously discussed in this report, SASL advised that their firm conducts proprietary trading.

►   We have completed a high level analysis of the Prop Trading accounts 32810 and 32813, and have summarized the most
    frequently traded tickers in these accounts by volume of shares traded, number of trades executed, and value of trades
    executed. These are shown in the tables in Appendix A to this report.

►   Whilst we understand that the SCB would like for EY to examine the source of funds entering SASL’s accounts and review
    their customer listing for potential fictitious customers, we would also recommend a review of SASL’s Prop Trading activity
    to confirm that it does not negatively impact their customers.

►   The list below is a high level summary of our recommended areas of investigation for Prop Trading analysis.

    i.    Compliance testing

           a.    Review and analyze compliance program elements related to Prop Trading.

    ii.   Forensic data analytics

           a.    Front running: examine if SASL are stepping out in front of orders placed or about to be placed by their customers
                 to gain a price advantage;

           b.    Promotion of stocks traded in Prop Trading accounts: examine the promotion of tickers traded by SASL in their
                 Prop Trading accounts. Identify instances where SASL is actively promoting the opposite position taken by SALS
                 in their Prop Trading accounts. Determine impact on SASL’s capital and customer accounts from trading; and

           c.    Extension of capital: examine daily asset balances of SASL accounts and compare to reserve capital for trading.
                 Understand funding of the Prop Trading.




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Appendix A: Analysis of SASL Prop Trading account
Frequently traded tickers based on number of trades

The tables below show the most frequently traded tickers in each of SASL’s Prop Trading accounts, 32810 and 32813.

Account 32810 - most frequently traded tickers based on number of trades
   Symbol     Number of trades     Volume of shares    Value of trades ($)   Stock price ($)   Market cap ($)     Exchange
   MBRX             1,297             2,055,394            6,125,486             1.9500          40,590,000        NASDAQ
   IDXG              871              1,380,378            2,767,556             1.1200          29,270,000        NASDAQ
    AMD              599               299,488             3,711,845            12.8900        11,973,150,000      NASDAQ
   GLYC              562               175,354             1,967,391            22.3500         797,670,000        NASDAQ
   HMNY              358               213,638              919,471              8.5900         209,690,000        NASDAQ
    PIRS             338               276,924              998,438              7.9200         345,810,000        NASDAQ
   APHB              332               217,054              928,853              1.1700          14,520,000     NYSE American
   AEZS              328               371,314              951,487              2.8500          37,590,000        NASDAQ
   SORL              327               199,596             1,373,281             6.4700         121,620,000        NASDAQ
   INPX              320               216,122              872,137              0.3200          14,260,000        NASDAQ
   CCCR              294               186,664              551,856              1.7000          33,306,000        NASDAQ
   MTBC              272               229,826              623,155              3.8300          41,390,000        NASDAQ
   NADL              269               197,016              606,879              0.0650          1,760,000       OTC Market
   TEVA              243               169,488             3,350,220            21.3300        22,592,780,000       NYSE
   JNUG              230               542,490             5,298,660            18.3500              n/a          NYSE Arca




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Appendix A: Analysis of SASL Prop Trading account
Frequently traded tickers based on number of trades

Account 32813 - most frequently traded tickers based on number of trades
   Symbol     Number of trades    Volume of shares    Value of trades ($)   Stock price ($)   Market cap ($)   Exchange
   AMD            21,702             9,846,706          103,658,136            12.8900        11,973,150,000    NASDAQ
   JNUG           19,242             7,592,070          66,501,776             18.3500              n/a        NYSE Arca
   DRYS           17,106             6,537,751          27,745,667              3.5400         374,350,000      NASDAQ
    VRX           14,185             4,592,694          78,093,735             19.3200        6,864,210,000      NYSE
   MGT            14,070            11,045,858          37,654,351              3.2500         178,720,000     OTC Market
   AUPH           13,957            6,325,374           34,378,469              5.6700         473,860,000      NASDAQ
   MTBC           10,819            6,406,516           15,046,536              3.8300          41,390,000      NASDAQ
   EXAS           10,631            4,271,220           51,424,681             50.4900        6,017,650,000     NASDAQ
   IDXG           10,606            5,508,400           14,080,070              1.1200          29,270,000      NASDAQ
   AEZS           10,458            5,947,476           18,033,653              2.8500          37,590,000      NASDAQ
   SORL           10,291            5,574,952           33,703,567              6.4700         121,620,000      NASDAQ
   UVXY           10,273            2,971,370           48,233,428              9.9200              n/a        NYSE Arca
   MBRX           9,972             6,202,410           14,736,741              1.9500          40,590,000      NASDAQ
   NUGT           9,714             2,321,866           68,682,857             35.3600              n/a        NYSE Arca
   HTGM           9,397             4,003,994           17,377,540             3.9900           57,950,000      NASDAQ




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Appendix A: Analysis of SASL Prop Trading account
Frequently traded tickers based on volume of shares traded

Account 32810 - most frequently traded tickers based on volume of shares

   Symbol     Volume of shares    Number of trades    Value of trades ($)   Stock price ($)    Market cap ($)   Exchange
   UWTI          4,956,560              211              21,170,817               n/a                n/a        NYSE Arca
   MBRX          2,055,394             1,297              6,125,486             1.9500           40,590,000      NASDAQ
   IDXG          1,380,378              871               2,767,556             1.1200           29,270,000      NASDAQ
    USO          1,138,240               23              16,554,439            13.2400         2,180,000,000    NYSE Arca
   AKAO           966,936               221              13,803,311            11.0000          468,450,000      NASDAQ
    BAC           704,164                87              15,221,147            32.2000        329,190,000,000     NYSE
   OPGN           632,516                77              1,512,322              6.2000           14,830,000      NASDAQ
   JNUG           542,490               230              5,298,660             18.3500               n/a        NYSE Arca
   RLOG           532,160                59                911,991              0.0580            1,120,000      NASDAQ
   ARRY           437,134                86              2,634,902             14.5400         2,906,150,000     NASDAQ
   UVXY           414,226               181              6,864,259              9.9200               n/a        NYSE Arca
   AEZS           371,314               328                951,487              2.8500           37,590,000      NASDAQ
   SCON           301,712                75                732,040              1.1400           12,480,000      NASDAQ
   AMD            299,488               599              3,711,845             12.8900        11,973,150,000     NASDAQ
   PIRS           276,924               338                998,438             7.9200           345,810,000      NASDAQ




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Appendix A: Analysis of SASL Prop Trading Account
Frequently traded tickers based on volume of shares traded

Account 32813 - most frequently traded tickers based on volume of shares

   Symbol     Volume of shares    Number of trades    Value of trades ($)   Stock price ($)   Market cap ($)   Exchange
   MGT          11,045,858            14,070             37,654,351             3.2500         178,720,000     OTC Market
   DCTH         10,980,100             4,207             1,881,366              0.0400           2,380,000      NASDAQ
   AMD          9,846,706             21,702            103,658,136            12.8900        11,973,150,000    NASDAQ
   JNUG         7,592,070             19,242            66,501,776             18.3500              n/a        NYSE Arca
   DRYS         6,537,751             17,106            27,745,667             3.5400          374,350,000      NASDAQ
   MTBC         6,406,516             10,819            15,046,536             3.8300           41,390,000      NASDAQ
   AUPH         6,325,374             13,957            34,378,469             5.6700          473,860,000      NASDAQ
   MBRX         6,202,410              9,972            14,736,741             1.9500           40,590,000      NASDAQ
   AEZS         5,947,476             10,458            18,033,653             2.8500           37,590,000      NASDAQ
   SUNE         5,877,204              6,580            39,410,203                n/a               n/a          NYSE
   SORL         5,574,952             10,291            33,703,567             6.4700          121,620,000      NASDAQ
   IDXG         5,508,400             10,606            14,080,070             1.1200           29,270,000      NASDAQ
   TOPS         5,279,162             8,632             15,897,149             0.2000           23,800,000      NASDAQ
   CLRB         5,051,484             6,717             17,851,299             1.2300           18,820,000      NASDAQ
    CHK         4,940,670             7,910             27,860,127             3.9700         4,516,230,000      NYSE




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Appendix A: Analysis of SASL Prop Trading Account
Frequently traded tickers based on value of shares traded

Account 32810 - most frequently traded tickers based on value of trades ($)
   Symbol     Value of trades ($)   Volume of shares    Number of trades   Stock price ($)    Market cap ($)   Exchange
   UWTI          21,170,817            4,956,560              211                 n/a               n/a        NYSE Arca
    USO          16,554,439            1,138,240               23              13.2400        2,180,000,000    NYSE Arca
    BAC          15,221,147             704,164                87              32.2000       329,190,000,000     NYSE
   AKAO          13,803,311             966,936               221              11.0000         468,450,000      NASDAQ
   UVXY          6,864,259              414,226               181               9.9200              n/a        NYSE Arca
   MBRX          6,125,486             2,055,394             1,297              1.9500          40,590,000      NASDAQ
   JNUG          5,298,660              542,490               230              18.3500              n/a        NYSE Arca
   NFLX          4,012,957               31,892                92             274.6000       116,707,500,000   NASDAQ
   AMD           3,711,845              299,488               599             12.8900        11,973,150,000     NASDAQ
   TEVA          3,350,220              169,488               243             21.3300        22,592,780,000      NYSE
   AERI          2,807,775               76,072                88             56.7000         2,159,850,000    NASDAQ
   IDXG          2,767,556             1,380,378              871              1.1200           29,270,000      NASDAQ
   ARRY          2,634,902              437,134                86             14.5400         2,906,150,000     NASDAQ
   SRPT          2,337,433               66,438                93             67.5800         4,369,770,000     NASDAQ
   GLYC          1,967,391              175,354               562             22.3500          797,670,000      NASDAQ




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Appendix A: Analysis of SASL Prop Trading Account
Frequently traded tickers based on value of shares traded

Account 32813 - most frequently traded tickers based on value of trades ($)
   Symbol     Value of trades ($)   Volume of shares    Number of trades   Stock price ($)    Market cap ($)   Exchange
   AMD          103,658,136            9,846,706            21,702             12.8900        11,973,150,000    NASDAQ
    VRX         78,093,735             4,592,694            14,185             19.3200        6,864,210,000      NYSE
   NUGT         68,682,857             2,321,866             9,714             35.3600             n/a         NYSE Arca
   NVDA         68,597,849              640,698              7,293            243.3300       143,228,100,000    NASDAQ
   JNUG         66,501,776             7,592,070            19,242            18.3500              n/a         NYSE Arca
   EXAS         51,424,681             4,271,220            10,631            50.4900         6,017,650,000     NASDAQ
   WTW          48,961,521             3,117,462             6,482            65.4400         4,251,890,000      NYSE
   UVXY         48,233,428             2,971,370            10,273             9.9200              n/a         NYSE Arca
    HTZ         46,298,874             2,991,308             8,611            24.1500         1,915,560,000      NYSE
     X          40,631,595             1,831,858             6,500            40.9500         7,047,020,000      NYSE
   SUNE         39,410,203             5,877,204             6,580               n/a               n/a           NYSE
   TEVA         38,174,857             1,687,810             5,004            21.3300        22,592,780,000      NYSE
   MGT          37,654,351            11,045,858            14,070             3.2500          178,720,000     OTC Market
   SRPT         36,871,915            1,739,054              8,072            67.5800         4,369,770,000     NASDAQ
   AUPH         34,378,469            6,325,374             13,957             5.6700          473,860,000      NASDAQ




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Limitations of review

Scope of our work
►   Our work has been limited in scope and time, and we note that more detailed procedures may have identified additional issues.
    The procedures summarized in our report do not constitute an audit, a review or other form of assurance in accordance with
    any generally accepted auditing, review or other assurance standards, and accordingly, we do not express any form of
    assurance. Additionally, the procedures do not address the effectiveness of internal controls over financial reporting under
    Section 404 of the Sarbanes-Oxley Act.
►   Our work has been limited in scope and cannot be relied upon to have identified all information or issues that may be of
    relevance.
►   EY performed certain searches using publicly-available information We cannot assess whether the information from these
    sources is accurate or complete, and there is a risk that this information may be false, incomplete, or no longer relevant. EY
    cannot assume liability for these risks. The findings presented in this report are a result of the identification, compilation, and
    cross-referencing of information as it was publicly available.
►   The contents of this report are based on information provided and disclosed by SASL during the course of the review. EY did
    not have access to SASL’s internal systems and our analysis has been based on the trade data and any supporting
    documentation that was extracted by SASL and provided to EY.
►   During the engagement we asked for copies of ‘Market Surveyor’ reports or communications. SASL advised that the
    relationship and all documentation is with Mint Global Markets Inc. (formerly Stock USA Execution Services) (“Mint Global”)
    and that SASL does not have any supporting documentation from Market Surveyor. Mint Global is the firm which SASL execute
    their equity trades through. We found this response to be vague and could not confirm or deny the statement made by SASL.
►   SASL highlighted to us that a customer account was closed due to suspicion of layering. SASL were unable to advise which
    customer or account this was or any documentation to support this.




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Limitations of review

►   Following a reconciliation of SASL’s clearing account (32812) we found 111 instances in which trade positions were not
    cleared in this account and thus appears an open position remained. SASL explained that if the reconciliation was completed
    on a daily basis then this could be the case as customers are not required to sell the shares purchased on that day and can
    hold a position for as long as they wish. When asked for supporting data, we were informed that providing a full trade history
    of the stock was too cumbersome for SASL’s system and instead provided with copies of the daily position in relation to two
    of the instances from the date on which the open position was created until it cleared. The trade data shows this was a
    manual entry detailed as ‘flatten position’. We reviewed a sample of other instances and identified the same practice for
    other positions. We did not review all 111 instances.
►   Upon requesting additional information in regards to the notes for manual trades, SASL advised that they would be unable to
    provide this and that there would be no further information on their system i.e. the trade data contains all information
    available in relation to that trade. We are unable to confirm or deny this statement.




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THE SECURITIES COMMISSION OF THE BAHAMAS
ROUTINE EXAMINATION REPORT


22 May 2019


Registrant:             Swiss America Securities Ltd.
License Type:           Registered Firm (RF) – Dealing as Agent and Principle, Arranging, Managing and Advising on Securities.
License Date:           30th December, 2011
License No:             SIA-F108
Inspection Date:        19th November 2018 – 3rd December 2018
Response Date:
Follow-Up Date:

THE SECURITIES COMMISSION OF THE BAHAMAS

The Securities Commission of The Bahamas (the Commission) is a statutory body established under the Securities Industry Act, 2011 (the SIA) for
the regulation of investment funds and securities and capital markets in The Bahamas. The regulatory authority of the Commission to regulate
participants in the securities industry of The Bahamas, is contained in the SIA, while the Investment Funds Act, 2003 (the IFA) makes similar
provisions relating to the regulation of the investment fund industry participants.

The responsibilities of the Commission are clearly delineated in Section 12 of the SIA which charges the Commission inter alia with responsibility
to:
    1.     Formulate principles to regulate and govern investment funds, securities and capital markets;
    2.     Maintain surveillance over investment funds, securities and capital markets ensuring orderly, fair and equitable dealings; and
    3.     Create and promote conditions to ensure the orderly growth and development of the capital markets.

In addition to these specific functions, the Commission is granted, pursuant to Section 45 of the SIA, powers to conduct onsite inspections to
execute its mandate. This is necessary to ensure fair-play and the integrity of the market while facilitating its development. Investor education
and protection also constitute an important part of the Commission’s mandate.




LP/NSF/CGC/KM                                                      Page 1 of 15                                       Swiss America Securities Ltd.
                                                                                                                              3rd December, 2018
                                                                                                                                (End of Fieldwork)
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THE SECURITIES COMMISSION OF THE BAHAMAS
ROUTINE EXAMINATION REPORT


The Commission’s regulatory activities are not only designed to ensure compliance with the laws governing the industry, but ultimately to
contribute to the development and maintenance of a financial environment that is vibrant and competitive; one in which the public can have
confidence because of its sound corporate governance, prudent business practices and transparency, with due regard to international standards
and the need for operational freedom.

THE COMMISSION’S REGISTER

As of the end of fieldwork, the Commission’s Official Register included the following information with respect to the Company’s registration as a
Registered Firm:

 NAME                                                                  LICENSE| REGISTRATION
 Swiss America Securities Ltd. (“SASL”)                                SIA-F108| 30 December 2011


  ADDRESS                                                               TELEPHONE NUMBERS
  Suite 2017, Elizabeth Avenue                                          242-603-8600
  Elizabeth on Bay Plaza
  P.O. Box CB-8340
  Nassau, The Bahamas

 PERSONNEL                                                              LICENSE| REGISTRATION
 Guy Gentile                                                            Chief Executive Officer| 30 December 2011
 Edward Cooper                                                          Compliance Officer| MLRO| 27 March 2018




If any of the above information is incorrect, please contact the Commission’s Supervision Department at (242) 397-4100 Monday through Friday
between the hours of 9:00 am to 5:00 pm Eastern Time.
LP/NSF/CGC/KM                                                     Page 2 of 15                                      Swiss America Securities Ltd.
                                                                                                                            3rd December, 2018
                                                                                                                              (End of Fieldwork)
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THE SECURITIES COMMISSION OF THE BAHAMAS
ROUTINE EXAMINATION REPORT

THE ONSITE EXAMINATION

In carrying out its mandate, the Commission conducts periodic onsite examinations to ensure that its registrants are complying with the legislation
that governs the investment funds and securities and capital markets industries in The Bahamas. In particular, the objectives of the Commission’s
onsite examination process are to:

    (i)      Update the Commission’s understanding of the Registrant’s operations.
    (ii)     Determine the accuracy of the Registrant’s registration as dealing in securities, managing securities, arranging deals in securities and
             advising on securities, Investment Funds Administrator and the registration of individuals within the Company.
    (iii)    Testing the Registrant’s compliance with the Securities Industry Act, 2011, the Securities Industry Regulations, 2012 (the SIA
             Regulations), the Investment Funds Act, 2003, the Investment Funds Regulations, 2003 (the IFA Regulations), the Financial
             Transactions Reporting Act, 2000, its procedures manual and generally accepted corporate governance practices.

Rotation

The Commission seeks to conduct such examinations on a periodic basis, at intervals that it determines to be appropriate, considering its assessed
level of risk of the registrant’s business and operations.

Disclaimer

This report should not be relied upon for assurance that a registrant’s operations are in compliance with the prescribed legislation or any other
legislation to which it is subject. The Commission would remind you that it is the responsibility of the registrant and its management to ensure
that it complies with all applicable legislation. Because of the test nature and other inherent limitations of the examination, there is an unavoidable
risk that certain breaches may remain undiscovered. Essentially, the Commission makes no assurance to any party as to the adequacy of a
registrant’s operations or its compliance with legislation.

Use of Report

This report is to be used solely by the Commission in carrying out its duties and responsibilities under its mandate and for the Registrant’s
information. It is not to be used for any other purpose, or to be distributed to any other party without the Commission’s prior consent. The
Commission accepts no responsibility for any third party relying on the contents of this report.




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SUMMARY OF FINDINGS – REGISTERED FIRM
The Commission’s current examination covered the period 1 May 2016 to 31 October 2018. The examination began on 19th November 2018 and
ended on 3rd December 2018. The examination was conducted at the Registrant’s Office, Suite 2017 Elizabeth Avenue, Elizabeth on the Bay,
Nassau, The Bahamas.

                                                      SASL – Registered Firm – SIA-F108

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The findings are discussed in more detail on pages 6 to 15 . We require that you provide the Commission with your response to the finding noted
within 30 days from the date of this report in the registrant’s response space provided below the finding. Your response should outline any
corrective measures already taken or planned, along with the target dates for implementation. There is a potential for disciplinary action, where
breaches are not resolved in a reasonable time. Spaces below registrant’s response are to be completed by the Commission.

We take this opportunity to thank you and your staff for the cooperation and assistance provided during the examination.

Yours truly,




Ms. Lesley Pearson
Senior Manager, Risk Analytics & Examinations




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FINDINGS
                                                   SASL – Registered Firm – SIA-F108

                                        Anti-Money Laundering/Countering Financing of Terrorism
 Finding 1      Legislation               Financial Intelligence (Internal Reporting) Regulations, 2001 – Regulation 5 (a) – Internal reporting
                                          procedures
                                          A financial institution shall institute and maintain internal reporting procedures which include
                                          provision -
                                                  (a) identifying and appointing a person ("the Money Laundering Reporting Officer" who shall
                                                  be registered with the Financial Intelligence Unit) to whom a report is to be made of any
                                                  information or other matter which comes to the attention of an employee and which in the
                                                  opinion of that employee gives rise to a knowledge or suspicion that another person is
                                                  engaged in money laundering.
                Breach                    SASL’s MLRO, Mr. Edward Cooper, was not registered with the FIU for the period under review.
                                          Current Status
                                          Mr. Cooper is now registered with the FIU effective 27 November 2018.
                Required Action           SASL must ensure that the MLRO is registered with the Financial Intelligence Unit as prescribed by
                                          legislation.
                Registrant’s Response
                Action Plan
                Due Date
                SCB’s Response
                Follow-Up Date
                Assigned Department                                                        Resolved                  Yes       No
                                                                                           Date
                                                                                           Comments:
 Finding 2      Legislation               Financial Intelligence (Internal Reporting) Regulations, 2001 – Regulation 6 (1)(2) – Training
                                          procedures
                                          (1) A financial institution shall take appropriate measures from time to time for the purposes of
                                          making all relevant employees aware -
                                                  (a) of the provisions of the Financial Intelligence Unit Act, the Financial Transactions Reporting
                                                  Act, the Financial and Corporate Service Providers Act, the Proceeds of Crime Act, these
                                                  regulations and any other statutory provision relating to money laundering; and
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                                                (b) of the procedures maintained by the institution in compliance with the duties imposed
                                                under these regulations.
                                        (2) A financial institution shall provide all relevant employees from time to time and in any case at
                                        least once per year with appropriate training in the recognition and handling of transactions
                                        carried out by or on behalf of any person who is, or appears to be, engaged in money laundering.
                Breach                  SASL did not ensure that all relevant staff received AML training in 2018. The following employees did
                                        not attend training:
                                              Shawn Gomex
                                              Leslie Gibson
                                              Kaverin Kirill
                                              Helin Kaya Sendil
                                              Brittney Miller
                                              Barry Burrows
                                            Abria Hield
                Required Action         SASL must ensure that all staff receive AML training at least annually.
                Registrant’s Response
                Action Plan
                Due Date
                SCB’s Response
                Follow-Up Date
                Assigned Department                                                   Resolved                Yes         No
                                                                                      Date
                                                                                      Comments:


 Finding 3      Legislation             Securities Industry Regulations, 2012 – Regulation 53(2)(p) - Notice of change in information-after
                                        registration
                                        (2) In addition to the notice requirements under subsection (I), a registered firm shall deliver to the
                                        Commission immediate written notice of the occurrence of any of the following in relation to the
                                        registered firm or its securities business, as the case may be-
                                                 (p) where the registered firm is the subject of any written customer complaint involving
                                                 allegations of forgery, fraud, theft or misappropriation of funds or securities

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                Breach                  A review of SASL’s client complaint log revealed a complaint where the client alleged that the firm
                                        illegally manipulated the Stock “AWX” via a “pump and dump scheme” which resulted in a loss to
                                        the client. While the compliant was responded to, SASL did not inform the Commission that it was
                                        subject to an allegation of fraud by its client.

                Required Action         SASL should immediately notify the Commission if the firm is the subject of any written customer
                                        complaint involving allegations of forgery, fraud, theft or misappropriation of funds or securities.

                Registrant’s Response
                Action Plan
                Due Date
                SCB’s Response
                Follow-Up Date
                Assigned Department                                                    Resolved               Yes        No
                                                                                       Date
                                                                                       Comments:


 Finding 4      Legislation             Securities Industry Regulations, 2012 – Regulation 20 (4) (a) (b) – Records location and retention
                                        requirements.
                                        (4) A market participant must keep a record for the longer of-
                                                (a) seven years from the date the entry was made; and
                                                (b) any period set by any other relevant law.
                Breach                  SASL does not have written policies that documents its record retention requirements.
                Required Action         SASL must maintain and update its manual to state that all documents must be kept for seven years
                                        from the date of entry as prescribed by legislation.
                Registrant’s Response
                Action Plan
                Due Date
                SCB’s Response
                Follow-Up Date
                Assigned Department                                                    Resolved               Yes        No
                                                                                       Date

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                                                                                  Comments:


                                                   Financial & Capital Operations
 Finding 5      Legislation         Securities Industry Regulations, 2012- Regulation 49 (1)(a)- Reporting to the Commission - annual
                                    reporting
                                    (1) A registered firm must deliver to the Commission no later than the 120th day after the end of its
                                    financial year-
                                             (a) its audited annual financial statements for the financial year;
                Breach              2016 Financials
                                    2016 Audited Financials SASL did not submit the 31 December 2016 Audited Financials within the
                                    legislative time frame. The Financials were submitted on 18 June 2018, when they were due 30 April
                                    2017.

                                    Examiners noted that four extension requests for the 2016 financials were submitted and approved:
                                    Extension Request              Date Granted For:
                                    1st 11 April 2017               31 July 2017
                                    2nd 12 July 2017                31 October 2017
                                    3rd 24 October 2017             31 December 2017
                                    4th 18 December 2017             28 February 2018

                                    2017 Financials
                                    SASL did not submit the 31 December 2017 Audited Financials within the legislative time frame. The
                                    financials are still currently outstanding.

                                    Examiners noted that three (3) extension requests where submitted, however the 3rd request is
                                    under review by the Supervision Department.

                                    Extension Request               Date Granted For:
                                    1st   23 April 2018             31 July 2016
                                    2nd 27 July 2018                30 September 2016
                                    3rd 23 October 2018             as at 30 October 2018 the extension request was under review.



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                Required Action         Going forward, SASL should ensure that their Audited Financial Statements are filed with the
                                        Commission before the prescribed deadline.

                Registrant’s Response
                Action Plan
                Due Date
                SCB’s Response
                Follow-Up Date
                Assigned Department                                                    Resolved                Yes       No
                                                                                       Date
                                                                                       Comments:


 Finding 6      Legislation             Securities Industry Regulations, 2012 – Regulation 50 (1) (a) (b) – Reporting to the Commission -
                                        interim reporting
                                         (1) A registered firm must deliver to the Commission no later than the 30th day after the end of the
                                        first, second, third and fourth quarter of its financial year-
                                                  (a) Its financial statements for that quarter;
                                                  (b) The information set out in Form 13 of the Second Schedule for that quarter.
                Breach                  SASL did not file its Interim financial statements for quarters three (3) and four (4) of 2016 within
                                        the legislative deadline of the 30th day after the end of the first, second, third and fourth quarter of
                                        its financial year.
                Required Action         SASL must ensure Form 13 and its interim reports are submitted to the Commission 30 days after the
                                        end of each quarter as prescribed by legislation.
                Registrant’s Response
                Action Plan
                Due Date
                SCB’s Response
                Follow-Up Date
                Assigned Department                                                    Resolved                Yes       No
                                                                                       Date
                                                                                       Comments:


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 Finding 7      Legislation             Securities Industry Regulations, 2012 – Regulation 87 (1) (c) (iii) – Reconciliations
                                        (1) A registered firm shall perform re-conciliations as often as necessary to ensure the accuracy of its
                                        records, and shall perform reconciliations
                                                  (c) at least twice per month-
                                                           (iii) on its records of client assets for which it is accountable with statements
                                                           obtained from the custodians of those assets.
                Breach                  SASL is not preparing reconciliations on its balances on its records of client assets (Checkbook Inc.)
                                        for which it is accountable.
                Required Action         SASL must ensure that reconciliations are performed on balances of each client transaction account
                                        at least twice per month as prescribed by legislation.
                Registrant’s Response
                Action Plan
                Due Date
                SCB’s Response
                Follow-Up Date
                Assigned Department                                                    Resolved                Yes        No
                                                                                       Date
                                                                                       Comments:




                                                           Registration Matters
 Finding 8      Legislation             Securities Industry Regulations, 2012 – Regulation 48 (1) – Termination of representative
                                        (1) A registered firm shall file notice with the Commission immediately upon the termination,
                                        resignation or retirement of any registered individual who carried out securities business on behalf of
                                        the registered firm.
                Breach                  SASL did not ensure that Commission received immediate notice of the resignations for the
                                        following registered individuals:

                                               Michael Donald Bain- Trading Representative - resigned April 3, 2017 and the Commission
                                                was notified on May 8, 2017.
                                               Tiffany Raquel Donaldson- Trading Representative- resigned June 1, 2018 and the
                                                Commission was notified on June 5, 2018.
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                Required Action         SASL must ensure that the Commission is notified immediately of the resignations of registered
                                        individuals.
                Registrant’s Response
                Action Plan
                Due Date
                SCB’s Response
                Follow-Up Date
                Assigned Department                                                     Resolved                Yes        No
                                                                                        Date
                                                                                        Comments:


 Finding 9      Legislation             Securities Industry Regulation, 2012 – Regulation 45 (1) (2) – Renewal process
                                        (1) A registered firm shall deliver to the Commission the information set out in Form 10 of the Second
                                        Schedule on or before the 31" day of January of each year.
                                        (2) Where, in any year, the registered firm has failed to file or deliver all required information and pay
                                        all required fees on or before the date.
                Breach                  The Annual Information Update Form (AIUF) for the period ended 31 December 2017 was not
                                        submitted until 2 February, 2018 which is outside of the time prescribed by legislation (31st day of
                                        January each year).
                Required Action         SASL must ensure that required information is submitted within the time line prescribed by
                                        legislation.
                Registrant’s Response
                Action Plan
                Due Date
                SCB’s Response
                Follow-Up Date
                Assigned Department                                                     Resolved                Yes        No
                                                                                        Date
                                                                                        Comments:


                                                           Trading Operations

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 Finding 10     Legislation                   Securities Industry Regulation, 2012 – Regulation 72 (3) (e) (f) – Reporting to clients - contract
                                              note
                                              A contract note shall set out -
                                                      (e) whether the registered firm was acting as principal or agent;
                                                      (f) the marketplace, if any, on which the transaction took place, or, if applicable, a statement
                                                      that the transaction took place on more than one marketplace or over more than one day.
                Breach                        SASL does not display the marketplace and whether SASL is acting as principal or agent on the trade
                                              confirmations for their clients.
                Required Action               SASL must ensure that contract notes include the marketplace and whether SASL is acting as
                                              principal or agent as prescribed by legislation.
                Registrant’s Response
                Action Plan
                Due Date
                SCB’s Response
                Follow-Up Date
                Assigned Department                                                          Resolved                Yes       No
                                                                                             Date
                                                                                             Comments:



                                                              Other Recommendations
 Recommendation 1             Currently SASL does not host an annual security awareness training programs for staff. It is recommended that SASL
                              host an IT security awareness training program for all staff.
 Registrant’s Response
 Action Plan
 Due Date
 SCB’s Response
 Follow-Up Date
 Assigned Department                                                        Resolved                Yes       No
                                                                            Date
                                                                            Comments:



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 Recommendation 2        It is recommended that SASL list the Securities Commission as a critical vendor in SASL’s Disaster Recovery Plan.
 Registrant’s Response
 Action Plan
 Due Date
 SCB’s Response
 Follow-Up Date
 Assigned Department                                                   Resolved               Yes       No
                                                                       Date
                                                                       Comments:


 Recommendation 3        It is recommended that IT Matters be addressed and documented at the Board Level.
 Registrant’s Response
 Action Plan
 Due Date
 SCB’s Response
 Follow-Up Date
 Assigned Department                                                   Resolved               Yes       No
                                                                       Date
                                                                       Comments:


 Recommendation 4        It is recommended that SASL revise its policy manual to include the accounts receivable process and the monitoring
                         and collection of overdue balances, and create a report that lists each customer with an accounts receivable balance
                         and the balanced owed.
 Registrant’s Response
 Action Plan
 Due Date
 SCB’s Response
 Follow-Up Date
 Assigned Department                                                   Resolved               Yes       No
                                                                       Date


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                                                                      Comments:


 Recommendation 5        It is recommended that SASL document its policy of distribution of client statements.
 Registrant’s Response
 Action Plan
 Due Date
 SCB’s Response
 Follow-Up Date
 Assigned Department                                                  Resolved               Yes        No
                                                                      Date
                                                                      Comments:


 Recommendation 6        It is recommended that SASL document in their procedures manual trading procedures regarding churning.
 Registrant’s Response
 Action Plan
 Due Date
 SCB’s Response
 Follow-Up Date
 Assigned Department                                                  Resolved               Yes        No
                                                                      Date
                                                                      Comments:




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                                                     September 19, 2019




  Securities Commission of the Bahamas
  Christina Rolle
  Executive Director
  North Building, 2nd Floor
  31A East Bay Street
  PO Box N-8347
  Nassau, The Bahamas

              Re: Letter regarding Notice of Suspension of Registration – Swiss America Securities, Ltd. (“SASL”)

      Dear Ms. Rolle:

              We are in receipt of your letter dated September 18, 2019 which notices the suspension of registration for
      Swiss America Securities, Ltd. for five days, effective from yesterday until September 24, when you requested a
      meeting with SASL’s Chief Compliance Officer and Chief Executive Officer.

               We write to respond to your concerns in a manner that we hope will permit SASL to immediately restart
      operations today, and to clear up some misunderstandings that appear to have led to yesterday’s notice.

               I would note that the Commission’s actions in shutting down SASL, without notice or opportunity to cure
      the deficiencies cited in your letter, put at risk customer funds, because such customers are precluded from
      managing their accounts during the suspension, and because our clients where not given any notice to wind down
      their positions.

                                                                                                                           1
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         Your order, as you may know, has severely impacted the livelihood of our 40 Bahamian employees, who
  may have lost confidence in the security of their jobs.

           I must note that SASL has been in good standing with the Commission for the past nine years, employing
  at one time any where from 40 -70 Bahamians, without any serious issues or out-of-the-ordinary customer
  complaints. It is our hope to continue operating in full compliance with all your requirements.

        What we are willing to immediately do now and will do until we reach a resolution with the
  Commission:

                  1. Switch to agency trading only;
                  2. Move all client related assets to a segregated account at Deltec Bank in Nassau owned
                     by SASL.
                  3. We will change the name of the company to Swiss America Securities, Ltd.
                  4. We will end the referral agreement with Mint Global Markets UK.

           When I had the meeting with you last week, particularly when we reached hour three, I was dehydrated
  and very overwhelmed and tired, becoming frustrated, and as a result, was not able to explain to your satisfaction
  the questions asked of me.

           I was at a loss because I was told our meeting was about the audits and that was what I was prepared to
  discuss, but your seemingly rapid questions were not about the audits.

           My frustration was because I was not able to express sufficiently that we went through two audits and one
  forensic audit regarding our trading and our entire operation at your direction. I was surprised at the line of
  questioning because you hired Ernst and Young to examine our trading history since our inception.

          You stated to me that the Commission did not understand our business model, which was very upsetting
  and I was trying to understand why you said that while trying to keep up with your questions.

          We have followed the same business model since our inception.




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            In fact, another Bahamian company, Trade Zero, Ltd. also uses our same business model: it has a US
  [Florida] Corporation by the name Trade Zero, Inc. that accepts/holds client funds of their Bahamian broker dealer.
  I have attached below screen shots of wiring instructions for the Bahamian Trade Zero, Ltd. with TD Bank and
  the Florida corporate name records.




           Further, the reason we set up the UK firm was to hold client assets because the rule changes said we had
  to have a segregated account, and management decided to do it in a wholly owned entity and the account in
  Canada was set up for low cost ability to send and receive wires.

           We are prepared to meet with you on September 24, but we request a sooner meeting because of the
  impact your order has on so many people who rely upon us, which is our 40 Bahamian employees whose
  livelihoods have been halted without recourse, and our 4,000 clients who have been cut off from their trading
  positions and assets, particularly options which have always been traded in an agency capacity, and are time
  sensitive and could result in a complete loss to such clients.

          Please advise if the above is satisfactory and if a meeting sooner than 9/24/19 can be accommodated.

                                               Respectfully Submitted,



                                                     Guy Gentile

                                                                                                                      3
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